Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1832 Filed 05/10/19 Page 1 of 98




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

       UNITED STATES OF AMERICA,
                        Plaintiff,
                                            HONORABLE AVERN COHN
             v.
                                            No. 16-20143
       D-2 DEAUTA BELCHER and
       D-3 ANDRE WATSON,
                      Defendants.
       _____________________________/


                          JURY TRIAL EXCERPT - VOLUME 13
                                Closing Statements
                             Monday, October 22, 2018

       Appearances:
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        Transcript produced using machine shorthand and CAT software.
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1833 Filed 05/10/19 Page 2 of 98


                                Jury Trial Excerpt
                         Monday, October 22, 2018/Vol. 13




                                       I       N       D       E       X
                                                                                      Page   Vol.
       Government's Closing Argument ....................3                                   13
       Defendant Belcher's Closing Argument ............24                                   13
       Defendant Watson's Closing ......................55                                   13
       Government's Rebuttal Closing ...................81                                   13
       Certification of Reporter .......................98
                                           -           -       -




                               E   X       H       I       B       I       T   S

               Number       Description                                            Id'd Rcvd Vol.

       ***None Marked, Offered or Received***
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                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1834 Filed 05/10/19 Page 3 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 3

  1                                       Detroit, Michigan
  2                                       Monday, October 22, 2018
  3                                   -    -    -
  4          (Beginning of excerpt.)
  5                                                                 (9:36 a.m.)
  6                MR. HAUGABOOK:    Good morning.
  7                THE JURORS:    Good morning.
  8                MR. HAUGABOOK:    Ladies and gentlemen, I want to thank
  9    you for the fulfillment of your civic duty as jurors over the
 10    last three weeks.     It has often been said that the performance
 11    of jury service is one of the anchors upon which all of our
 12    liberties as United States citizens rest upon.          So, on behalf
 13    of the Government's trial team, I'm sure my brother counsel and
 14    its trial team and this Honorable Court, we would like to
 15    thank you for serving as jurors.        Our system of jurisprudence
 16    is one of the things that makes us an envy of the world
 17    because, whether you know it or not, there are still other
 18    countries that don't have this system of government that we do.
 19    So thank you.
 20          Ladies and gentlemen, based upon the evidence, there is no
 21    question Devin Wallace died at the hands of Andre Watson and
 22    Deaunta Belcher.     Three of the five participants have all told
 23    you of their collective involvement with Belcher and Watson in
 24    that murder.    From this we know Watson, an enforcer on
 25    Belcher's payroll, along with Brown, killed Wallace in exchange

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1835 Filed 05/10/19 Page 4 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 4

  1    for money and items promised by Belcher.         Phones were used to
  2    coordinate it.     Money, cars and a condo were promised.        As a
  3    result, Wallace died after Watson shot at him twelve times at
  4    point-blank range, with six shots directed to Wallace's head.
  5           Before you go back to deliberate I want to describe to you
  6    how the evidence you heard over the past three weeks satisfies
  7    the elements of the crimes charged beyond a reasonable doubt
  8    starting with Count One, Murder for Hire.
  9           First, both Deaunta Belcher and Andre Watson are charged
 10    with use of a facility of interstate commerce in the commission
 11    of a murder for hire.      That sounds complicated, but really it's
 12    not.   There are four elements or four different things you must
 13    find beyond a reasonable doubt to find the defendants guilty of
 14    this offense.
 15           First, that the defendants used or caused another person
 16    to use a facility of interstate commerce or foreign commerce.
 17    In this case that facility is a cellular phone.          So you will
 18    simply need to decide whether Deaunta Belcher and Andre Watson
 19    used or caused someone else to use a cell phone in connection
 20    to this murder-for-hire scheme.
 21           Second, that the cell phone, or phones, were used with the
 22    intent that a murder be committed.
 23           Third, that this murder was done in exchange for something
 24    of value.    In other words, it was committed for money, a car or
 25    something of value.     Also, that money need not have changed

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1836 Filed 05/10/19 Page 5 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 5

  1    hands actually.     All that is required is a promise to pay
  2    someone in exchange for the murder; and
  3          Four, that death resulted and that death satisfies the law
  4    of Michigan for first-degree murder.
  5          During this trial over the past three weeks the evidence
  6    has shown that on September 11, 2015 at roughly 5 o'clock
  7    Devin Wallace sat outside They Say Restaurant in a white
  8    Mercedes Benz, a car that his widow and even Defendant Belcher
  9    said he did not frequently drive.
 10          Wallace sat in his car talking to Darnell Bailey, his
 11    supposed good friend and business partner in a fraudulent car-
 12    and truck-trafficking scheme.       Mr. Bailey is the cousin of
 13    Defendant Belcher, their other partner in the fraudulent car-
 14    and truck-trafficking scheme, who also engaged in drug dealing
 15    with Wallace and others.
 16          The evidence has shown that their drug dealing was
 17    intertwined with their car fraud scheme because certain drug
 18    customers' identities were used as sham car buyers in
 19    conjunction with other drug customers who worked at the
 20    dealership, employees, to push the paperwork through, all
 21    for the purpose of faking the purchaser identities on cars
 22    that ultimately were subleased to other people in the
 23    drug-trafficking world or other drug dealers.          The cycle of
 24    drug dealing and car fraud was completely entangled and
 25    repeatedly fed itself.      In fact, they were two sides of the

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1837 Filed 05/10/19 Page 6 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 6

  1    same coin.
  2          The evidence has shown that an unsuspecting Wallace
  3    thought that he was going to meet with several other men,
  4    including Deaunta Belcher and Darnell Bailey, to discuss a
  5    business deal, but that meeting never happened because days and
  6    weeks before this date and at least before August 25th a
  7    nefarious plot to kill Wallace was hatched at a meeting at
  8    Zeidman's between Belcher, a/k/a Byrd; Bailey, a/k/a Gino;
  9    Brown, a/k/a Twin; and Watson, a/k/a Dre, Lil Stunna or Stunna.
 10          From the evidence, we know that the plot to kill Watson
 11    was in effect by August 25th of 2015 because information from
 12    the call detail records or CDRs, as will be discussed in
 13    Exhibit 16.13 and 13.5, along with the testimony of Bailey and
 14    Brown about a failed attempt, tell us so.
 15          Bailey said there was a failed attempt to kill Wallace at
 16    the Pantheon Nightclub in Dearborn.        Brown said he and Watson
 17    went there based upon a call from Belcher and that they
 18    followed Wallace but could not keep up with him.
 19          As seen in Exhibit 16.14, Belcher, Watson and Brown all
 20    talked on August 25th.      As depicted in Exhibit 13.5, you can
 21    see that on August 25th, 2015 Wallace was in the vicinity of
 22    the Pantheon Club around the same time as Brown and Watson.
 23    Wallace's number ended in 5618, Brown's ended in 1332, Watson's
 24    ended in 3909.     In other words, everyone's phone is in the same
 25    area.   Everyone was in the same area.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1838 Filed 05/10/19 Page 7 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 7

  1          On the fateful day of September 11, 2015 the evidence has
  2    shown that Wallace, as we are going to see in Exhibit 2, pulled
  3    up outside the restaurant at 16:34:05.         Recall that the clock
  4    on this video was a minute and 45 seconds fast.          In other
  5    words, based upon the time in the video, he really pulled up at
  6    16:32.   So, ladies and gentlemen, as you saw in the video, you
  7    have to subtract a minute and 45 seconds to get the true time.
  8          As we are about to see in Exhibit 13.7, by the time the
  9    victim pulled up and parked, Chambers, Brown and Watson are
 10    already on the way to his location in Chambers' 2007 black
 11    Charger.    Looking at Exhibit 13.7 and the testimony of
 12    Chambers, Brown and Agent Jenson, between 4:25 and 5:10 p.m.
 13    Chambers is en route southbound from Faircrest Street with
 14    Brown, his front seat passenger, and Watson, his rear seat
 15    passenger, in response to Belcher's follow-up call to Brown
 16    about a definite location, that being the They Say Restaurant
 17    location, to find, as Brown testified, the big fish on the
 18    line.
 19          By 16:51:30, as depicted in Exhibit 13.7, Watson, Brown
 20    and Chambers have reached the area of They Say Restaurant.            As
 21    you can see in Exhibit 13.8, Watson's and Brown's phones are in
 22    the immediate area before, during and after the murder.            Recall
 23    that Chambers and Brown both told you they were in the car as
 24    driver and front seat passenger respectively and that
 25    Andre Watson was the rear seat passenger, who exited the car

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1839 Filed 05/10/19 Page 8 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 8

  1    and killed Wallace.
  2          As we are about to see in Exhibit 16.5, within that same
  3    block of time Brown and Belcher are in contact with one another
  4    numerous times.     There is even contact with Belcher from
  5    Watson's phone, which aligns with Brown's testimony that due to
  6    a battery issue he borrowed that phone from Watson and used it
  7    to call Belcher.     Remember, Brown says those calls were related
  8    to execution of the plan hatched at Zeidman's to kill Wallace,
  9    and, and, and by his refusal to tell the Detroit Police the
 10    truth about all he talked about, about all he talked to before
 11    and after the murder.
 12          I'm sorry, let me start over.       To tell DPD the truth about
 13    who all he talked to before and after the murder, Defendant
 14    Belcher by that glaring omission and untruth tells you himself
 15    that it was indeed Brown he was talking with when he was
 16    talking with him about killing Wallace.
 17          You saw that video interview with the Detroit Police
 18    Homicide Detectives Mitchell and Lucy where they confronted
 19    Belcher regarding the number belonging to Stephen Brown and the
 20    number of contacts between Belcher and Brown's phone.           In the
 21    interview the detectives told Belcher his phone had contact
 22    with Brown's phone 188 times the month before September 11,
 23    2015 and at least 23 times on the day of the murder.
 24          In the interview Belcher refused to say the 1332 number
 25    was Brown's or Steph's, as he called him; refused to say he

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1840 Filed 05/10/19 Page 9 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 9

  1    associated with Steph or that he ever talks to Steph, for that
  2    matter, even though he talked to Brown as he pulled up to the
  3    They Say Restaurant on September 11th, which I'll talk about
  4    more in a moment.     In the interview Belcher said the last he
  5    heard of Steph was in jail and refused to admit he even knew
  6    his last name.     But, as you saw from the video, Detective
  7    Mitchell found Brown's full name and picture in the Facebook
  8    contact from Belcher's phone, one of the second phones he
  9    possessed in that interview.
 10          But, suffice it to say, Defendant Belcher, by those
 11    glaring omissions and untruths, tells you himself that it was
 12    indeed Brown that he was talking to.        Defendant Belcher, by all
 13    of those glaring omissions and untruths, tells you himself that
 14    the calls between he and Brown involved a plan to kill Wallace.
 15          Also, recall before the murder he had told his then fiance
 16    and drug coconspirator Miss Latasia Banks that Bailey asked him
 17    to help take out Wallace, and when confronted by Banks after
 18    the murder, he confessed and in his own words said, "Nigga was
 19    greedy and had to go."
 20          As we are about to see in Exhibit 4, by the 16:48:04 mark
 21    in conjunction with Exhibit 16.7, you can see that as Belcher's
 22    Camaro arrives he has just been in contact with Bailey's phone,
 23    he had just been in contact with Bailey's phone, and he is in
 24    contact with Brown's phone twice, a 10-second and a 95-second
 25    call.   These are outbound calls, meaning Belcher is calling

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1841 Filed 05/10/19 Page 10 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 10

   1   Brown, calling Brown's phone.
   2         The 95-second call starts at 16:48:24 of Exhibit 16.7 and
   3   Exhibit 4.    That means, ladies and gentlemen, that that
   4   95-second call runs until 16:49:59, and as you can see from the
   5   video, Mr. Belcher is still in the car.         He never exited the
   6   Camaro until he completed that call with Mr. Brown.           Therefore,
   7   before he even gets out of the car with his daughter he is on
   8   the phone engaged in fulfilling the plan to execute Wallace.
   9         Next, we will look at another clip from Exhibit 4, which
  10   ends at the 16:53:03 mark, and compare it with Exhibit 16.7.
  11   From this clip you can see that Belcher is back into his
  12   Camaro, and a second later at 16:53:04 when we look at
  13   Exhibit 16.7 he gets a call from Andre Watson's phone, another
  14   call he refused to acknowledge to Detectives Mitchell and Lucy.
  15         Looking at Exhibit 13.7, you can see that at 16:51:31, by
  16   that little box down there closest to -- it looks like it's
  17   sitting in the water there, you can see that at that time when
  18   we look at Exhibit -- when we look at that, you can see that he
  19   gets a call from Andre Watson's phone number and you can see
  20   that Watson's phone is indeed in the immediate area of the
  21   restaurant.     In fact, it is already in the area before making a
  22   46-second call to Belcher's phone.
  23         Brown and Chambers told you that on the -- Brown and
  24   Chambers told you that on the ride to They Say Brown and Watson
  25   shared each other's cell phones to talk to Belcher.           In fact,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1842 Filed 05/10/19 Page 11 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 11

   1   Brown told you that due to a battery issue he used Watson's
   2   phone to call Belcher.      Remember, Brown told you that they were
   3   sitting on the corner of Joseph Campau and Jefferson for a few
   4   minutes and there was a phone call with Belcher.
   5         Looking at another clip from Exhibit 4, which starts at
   6   the 16:53:04 mark, you can see, when we look at Exhibit 16.7,
   7   you can see that that call that starts at 16:53:04, which lasts
   8   46 seconds, is enough and just long enough for Belcher to
   9   arrive a block away onto eastbound Wight Street.           Brown
  10   testified Belcher was told they were nearby, and Brown told you
  11   they saw Belcher pull off in that Camaro.          As we just saw,
  12   Watson's phone was there at 16:51:03, about two minutes before
  13   the call and two minutes before the defendant pulled off, and
  14   as Brown told you, they could see him pull off in the white
  15   Camaro.
  16         The evidence proves that by the time he got home a block
  17   away to attempt to drop his daughter off, Belcher already made
  18   the phone calls to carry out the plan hatched at Zeidman's to
  19   kill Wallace.     Given the testimony Belcher was paying for this
  20   and held a bitter animosity with Wallace, this all explains why
  21   Belcher was definitely in a rush to get in and out of the
  22   house, like Ms. Banks said.
  23         Belcher wanted to get in and out of the house because, in
  24   his words, he had a play on the floor with Darnell Bailey, and
  25   that play, ladies and gentlemen, was to kill Wallace.            I submit

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1843 Filed 05/10/19 Page 12 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 12

   1   that Belcher wanted to get back so he could watch the aftermath
   2   of Wallace's execution and commence the false narrative that
   3   Wallace was killed for snitching.
   4         His daughter's return to the scene with him was by sheer
   5   happenstance and accident.       In fact, her presence in the car
   6   with Belcher did not even stop his phone call and planning with
   7   Brown when Belcher first pulled up and parked outside the
   8   They Say Restaurant before the murder.
   9         Looking at another clip from Exhibit 4, which starts at
  10   the 17:03:42 mark, which we will later compare with this
  11   Exhibit 16.7.     You can see that after the shooting occurs
  12   Bailey is at Belcher's car a block away on Wight Street at
  13   17:04:23.
  14         Looking at another clip from Exhibit 4, which starts at
  15   the 17:04:24 mark, which we will compare to Exhibit 16.7.            You
  16   can see Belcher then headed westbound on Wight and circled the
  17   block before arriving back at the restaurant scene.
  18         Belcher's Camaro arrives and parks on southbound
  19   Joseph Campau at the corner of Franklin at 17:06:02.           By the
  20   time this clip ends at 17:06:06, in that short window that it
  21   takes for him to leave Wight and circle the block and get
  22   there, you can see that he doesn't get out the car until after
  23   he has had a 36-second call with Andre Watson on the phone.             If
  24   you do the math, 17:05:30 plus 36 seconds will take you to
  25   17:06:06, which is just before he gets out of the vehicle right

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1844 Filed 05/10/19 Page 13 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 13

   1   there.    As you can see, Belcher was on the phone with Watson
   2   before he got out of the car after returning to the scene, and
   3   yet that's another communication he denied making to detectives
   4   Lucy and Mitchell.
   5         You know that payment was promised to Brown and Watson
   6   because Brown told you so.       Chambers testified that while in
   7   jail Brown said he received some money but was due more.            Brown
   8   also testified about this conversation and said he promised to
   9   give Chambers a cut of the money he was to receive from
  10   Belcher.
  11         You also heard that Brown called Belcher for payment and
  12   was directed to Bailey, who promised to pay him at Motor City
  13   Casino, but Brown could not go because he was on tether and he
  14   sent Watson instead.
  15         Bailey told this account as well.        You also heard that
  16   Brown called Bailey, who said he gave $10,000 to Belcher to pay
  17   them.    Brown then contacted Belcher, who said he gave it to
  18   Watson, yet Brown did not get a cut of the money.
  19         You heard that in one instance Brown sought money from
  20   Belcher, but Belcher mocked him and questioned whether he
  21   deserved any because he failed to shoot directly with his .40
  22   caliber gun.
  23         You also heard that Brown was getting the runaround
  24   regarding full payment from Belcher.         In fact, Brown and
  25   Chambers told you about Brown's hunt for him in the

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1845 Filed 05/10/19 Page 14 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 14

   1   Warren-Conner projects.       Chambers and Brown both told you they
   2   found him and that Brown was paid.
   3         Brown said he even went there with an AK-47 or chopper
   4   because he was so incensed that he was getting the runaround
   5   and the money was not being paid off as promised.           You heard
   6   Brown say as a result he received some money from Belcher the
   7   evening of that encounter in the projects.          You also heard, it
   8   was brought out on cross-examination of Agent Rienerth, that
   9   Brown told Rienerth he was offered a house and car by Belcher
  10   for killing Wallace.
  11         Ladies and gentlemen, the Government has overwhelmingly
  12   proven the elements of Count One, murder for hire, involving
  13   Defendants Belcher and Watson.        Both Belcher's and Watson's
  14   involvement with the others in this killing has been
  15   established by the testimony of the witnesses and the evidence,
  16   and I believe the Court will instruct you on what evidence is.
  17   It's the testimony of witnesses and the exhibits admitted into
  18   evidence and any stipulations and anything else that the Court
  19   tells you you may consider as evidence.
  20         However, there is even more evidence of Watson's guilt
  21   because of his lies to Agent Rienerth.         You recall Agent
  22   Rienerth, who not only testified about the creation of
  23   Exhibit 16, but he also testified about his interview of
  24   Watson.    Agent Rienerth said that Watson admitted the 3909
  25   phone number was his.      A phone with that number was seized by

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1846 Filed 05/10/19 Page 15 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 15

   1   Detroit Police during a traffic stop and arrest of Watson's
   2   female companion, as testified to by Officer Penn.
   3         However, just like Belcher, Watson's untruths proves his
   4   guilt and involvement also.       Watson told Rienerth he did not
   5   even know anyone named Chambers, but as we see in Exhibit 24C,
   6   he had three contacts for B.J. Chambers saved in his phone,
   7   including Chambers' number ending in 1987.          Likewise, in
   8   Exhibit 17B, Chambers had Watson's 3909 phone number saved in
   9   his phone under the name Stunna.        Watson said he did not know
  10   or associate with Steph, even though there was a video on his
  11   phone of him and Steph Brown that was made a couple weeks
  12   before their arrests.
  13         Watson denied going downtown or near They Say even though
  14   his phone shows him in the area at about the 16:51:03 mark
  15   until the murder was concluded.        While in the area, Watson's
  16   phone was in contact with Belcher's or Byrd's phone and
  17   remained there throughout the murder.         Watson denied knowing
  18   Byrd, but as we see in Exhibit 24D, Brown had several entries
  19   in his phone for a Byrd and described him as a tall, skinny
  20   light-skinned man.      As you heard from Agent Rienerth, those
  21   numbers there were other numbers found for Belcher in his
  22   drug-trafficking activity.
  23         The lies of Defendants Belcher and Watson in the face of
  24   the independent cell phone evidence, such as cell site location
  25   and actual cell phone content, coupled with the testimony of

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1847 Filed 05/10/19 Page 16 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 16

   1   Chambers, Brown, Jackson, Bailey, and Ms. Banks, proves these
   2   defendants' guilt as to Count One.
   3         There's no question these defendants used a phone, an
   4   instrument of interstate commerce, with the intention to commit
   5   a murder.
   6         There's no question that they did so based upon a promise
   7   to pay.    Brown even mentioned he was promised money, a car and
   8   a condo.    This is consistent with Belcher's capability to pay
   9   because Ms. Banks told you about Belcher's involvement with a
  10   drug customer realtor and Belcher's exchange of a car for a
  11   condo or house.     Also, you know that Belcher was involved in a
  12   car fraud scheme so it stands to reason that Belcher could
  13   indeed promise such things.
  14         There is no question these defendants caused the death of
  15   Wallace.    They intended to kill him, when you can take into
  16   account the Zeidman's plan, the surveillances, the failed
  17   attempt on August 25th, and finally the 12 shots fired at
  18   point-blank range on September 11th.
  19         There's no question that this was a premeditated killing.
  20   You take into account the Zeidman's plan, the surveillance, the
  21   August 25th attempt, the two calls to Brown about big fish on
  22   the line with a promise to call back with a definite location,
  23   and in fact a call back with a definite location at They Say,
  24   and the calls with the Brown and Watson phones as Defendant
  25   Belcher was arriving to the restaurant location, again calls

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1848 Filed 05/10/19 Page 17 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 17

   1   which he denied making and lied about who the other person was
   2   on the line when he was interviewed by Detroit Police.
   3         The evidence has shown that the execution of this
   4   nefarious plan on Mr. Wallace by all participants, including
   5   Chambers as the driver, and these two defendants, Belcher and
   6   Watson, on September 11 was just plain heinous and cold
   7   blooded.
   8         As we see from Exhibit 6CC and Exhibit 11, Watson shot at
   9   Wallace twelve times, and six of the nine shots struck Wallace
  10   in his head.     Nine took effect to his body, four of which
  11   exited his head, while the remaining two were removed during an
  12   autopsy.
  13         There's no question the killing of Wallace was deliberate.
  14   The Defendant Belcher had the opportunity to weigh the pros and
  15   cons as he pulled up on Franklin Street in the first instance.
  16   Watson had the same opportunity as he took that long ride from
  17   Faircrest down to They Say, as he sat at the corner of
  18   Joseph Campau and Jefferson, even as he sat at the corner of
  19   Franklin and Chene watching the events ahead of him.           They each
  20   had the opportunity to reflect upon it, weigh the pros and
  21   cons.
  22         Moving on to Count Two, Conspiracy to Distribute
  23   Controlled Substances.      There's overwhelming evidence about
  24   Belcher's drug dealing, from the jail call where he sent
  25   Ms. Blanks to pick up drug money and deliver drugs, the

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1849 Filed 05/10/19 Page 18 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 18

   1   testimony of Ms. Banks, the testimony of Frank Aday, the
   2   drug-related text messages and notations in Belcher's phone,
   3   the testimony of Brown that Belcher supplied him with
   4   marijuana, the testimony of Bailey regarding Belcher's drug
   5   dealings with Wallace and others, and the testimony of Jackson
   6   regarding admissions told him by Bailey, which were admitted to
   7   you, Mr. Jackson testified for you, to show that Mr. Bailey was
   8   being consistent about everything he told you later here in
   9   court because before he even had a deal or anything like that
  10   he had a catharsis.      He started explaining himself to
  11   Mr. Jackson.
  12         And there's no question about the inseparable role the
  13   drug dealing played in the fraudulent car scheme.
  14         There's no question Belcher conspired with others to
  15   distribute and did distribute drugs such as marijuana, cocaine
  16   and oxycodone.
  17         There's no question that the drug conspiracy fed into the
  18   car scheme and vice versa.
  19         There's no question Belcher knowingly and voluntarily
  20   joined the conspiracy with all of his drug coconspirators.
  21         With regard to Mr. Watson in Count Two, the elements are
  22   there was a conspiracy or agreement among two or more people to
  23   commit an illegal act, to wit, sell drugs and the defendant
  24   knew of or joined the conspiracy.
  25         There's no question that Belcher's car fraud/drug

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1850 Filed 05/10/19 Page 19 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 19

   1   conspiracy existed or that two or more persons conspired or
   2   agreed to join it.      So did Watson.    You heard testimony that
   3   Watson was an enforcer for Belcher.         That was his role in
   4   connection to the drug conspiracy.
   5         You heard testimony that Watson was at Zeidman's where
   6   Belcher offered him and Brown compensation to kill Wallace.
   7   Recall that this was a scheme prompted in part by Belcher's
   8   drug trafficking.
   9         Afterwards, Watson did surveillance with Brown for the
  10   express purpose of finding and killing Wallace.
  11         From the testimony of Chambers, Brown and Bailey, who says
  12   Belcher told him Watson was the killer.
  13         Watson was there on September 11th with his phone and did
  14   the killing.
  15         Given that Belcher denied calls with Brown's or Watson's
  16   phones and Watson denied knowing this Byrd when interviewed by
  17   Agent Rienerth and Watson had no explanations for why his phone
  18   was in connection with Belcher's or this Byrd's phone on
  19   September 11th, coupled with Watson's denial of being in the
  20   area of They Say when his phone does put him there by at least
  21   16:51:30, all of this shows Watson's consciousness of guilt.
  22   It shows Watson's attempts to hide his connection to Belcher
  23   and his whole involvement in this murder scheme.
  24         One does not solely have to join the car fraud/drug
  25   conspiracy as a dealer or customer.         Also, this Court may give

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1851 Filed 05/10/19 Page 20 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 20

   1   you an instruction that to join a conspiracy does not require
   2   proof that Watson knew everything about the conspiracy or
   3   everyone involved.      Also, I believe this Court may instruct you
   4   that once a conspiracy is shown an individual's slight role or
   5   connection is enough to find him guilty.         Ladies and gentlemen,
   6   that is satisfied by Watson's role as the enforcer for Belcher.
   7         Moving on to Count Three, Use of a Firearm.          The third
   8   charge is use of a firearm during and in relation to a
   9   drug-trafficking crime.       This count dovetails with the drug
  10   conspiracy I just finished talking with you about.
  11         With regard to Count Three, causing death through the use
  12   of a firearm during and in relation to a drug-trafficking
  13   crime, to be clear, ladies and gentlemen, although Belcher did
  14   not use a gun, the law does not require him to personally use
  15   the gun for him to be guilty of this offense.
  16         I believe this Judge may instruct you that a person can be
  17   guilty of this charge as an aider and abettor or as a
  18   coconspirator.     Here, although Watson used a gun and committed
  19   the murder, he was aiding and abetting Belcher, who offered to
  20   pay him and Brown to commit the murder.         You even heard from
  21   Brown that before this proffer was made he didn't know Wallace,
  22   he had no reason to go and find Wallace, he had no reason to
  23   kill Wallace.
  24         There's no question Belcher committed the drug-trafficking
  25   crime that was interwoven with this car fraud scheme.            In fact,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1852 Filed 05/10/19 Page 21 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 21

   1   Belcher and Bailey lured Wallace there to participate in the
   2   car fraud and drug-trafficking scheme.         There's no question
   3   Belcher and Bailey wanted Wallace dead because of disputes that
   4   arose during and in relation to that car fraud and
   5   drug-trafficking scheme.
   6          There's no question, based upon the testimony, cell site
   7   analysis and physical exhibits, that Chambers, Brown and Watson
   8   were all there.     Even surveillance video puts Bailey and
   9   Belcher there.
  10          There were two guns, a .40 caliber and a 9mm, and the
  11   testimony was that Watson used the 9mm which killed Wallace.
  12          You heard from MSP Officer Molnar, and he told you twelve
  13   of those casings were 9mm, eleven of them came from the same
  14   gun.   He talked about one just being kind of unavailable to say
  15   it was or wasn't, and I submit to you when you looked at the
  16   video you saw at least seven or eight vehicles that rolled
  17   through there or what have you.        I submit that's what made that
  18   inability to read that last shell.        But he also told you that
  19   there was a .40 caliber casing there as well.
  20          There's no question a gun or guns would be used because
  21   the killing had to be quick and fast.         There's no question
  22   Watson did the killing based upon Belcher's admission to Bailey
  23   and the testimony of Brown and Chambers as supported by the
  24   cell site analysis and the spent bullets and gun casings.
  25          There's no question that an unsuspecting Devin Wallace

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1853 Filed 05/10/19 Page 22 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 22

   1   lost his life due to twelve of the 9mm bullets being fired at
   2   him and six hitting him in the head all at point-blank range.
   3         For aiding and abetting I believe that this judge will
   4   tell you in the instructions that any assistance is enough.
   5   Belcher's assistance to Wallace was the Zeidman's offer of
   6   payment to commit the murder, the passing along of information
   7   to Watson through the phone call with Brown, the location as
   8   well as who was standing outside the car and who was seated
   9   inside.
  10         As that surveillance video proves, in the split second
  11   that he exited the car Mr. Watson already knew to avoid Bailey
  12   and go straight to the occupant of the car.          Think about it.
  13   Mrs. Wallace said her husband rarely drove that car, and in his
  14   video interview Belcher recounted only three times of seeing
  15   Mr. Wallace inside that car.       Brown said he and Watson got
  16   their information about what cars Wallace drove from Belcher.
  17   Brown even talked about seeing Mr. Wallace in a Jeep, in a
  18   white Jeep.
  19         It took Belcher and his calls to the Brown/Watson phones
  20   on September 11 to tell them Wallace was inside that Benz.
  21   Even in their failed attempt at surveillance Brown told you and
  22   testified that he merely saw Wallace in a white Jeep.            Watson
  23   assisted Belcher by performing the execution of Wallace with
  24   the firearm based upon the information Belcher passed to Brown
  25   as relayed to Watson that Wallace was the occupant of the car

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1854 Filed 05/10/19 Page 23 of 98


                                Government's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 23

   1   and Bailey was standing outside.
   2         For Count Three there is another way in which both
   3   defendants are liable, and that is under the rule of law that
   4   the acts committed by one coconspirator is attributable to all
   5   of the members of the conspiracy.        These defendants conspired
   6   at Zeidman's to commit a murder.        As I mentioned before, it
   7   obviously had to involve a gun or guns to be quick and fast.
   8   Both of these defendants joined the conspiracy at the Zeidman's
   9   meeting and remained in it until the killing of Wallace was
  10   achieved.    The deliberate killing of Wallace was done to
  11   continue the car fraud drug scheme without Wallace's
  12   participation and interference in the money earned from the
  13   scheme.    The killing of Wallace, ladies and gentlemen, was
  14   obviously committed during and in relation to the car
  15   fraud\drug-trafficking scheme.
  16         Count Four, Obstruction.       The fourth and final charge
  17   relates to Deaunta Belcher only.        He is charged with making
  18   misleading statements to police to hinder the investigation.
  19   The evidence is that Belcher knowingly tried to mislead police
  20   in September 2015 when he told them:         One, he didn't know
  21   Stephen Brown personally; that he did not have Stephen Brown's
  22   phone number, two; and three, that he thought Stephen Brown was
  23   still in jail.
  24         With regard to Count Four, Obstruction of Justice,
  25   Defendant Belcher, by being untruthful about calls to his phone

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1855 Filed 05/10/19 Page 24 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 24

   1   before and after the murder, claiming he didn't know
   2   Stephen Brown, claiming Stephen Brown was still in jail,
   3   claiming the 1332 number belonged to Block, claiming he didn't
   4   associate with Stephen Brown, claiming he didn't know
   5   Stephen Brown's last name, these false statements obstructed
   6   justice.    Deaunta Belcher should have known these false
   7   statements would be passed along to DEA because he planted the
   8   cover story moments after the murder, and you heard what that
   9   story was, that Wallace was killed for snitching in a federal
  10   investigation.     In fact, I submit he thought his false
  11   statement would send the investigation in a different
  12   direction, away from him, his cousins Bailey and Brown, and
  13   Watson to other drug dealers already under investigation by the
  14   DEA.
  15          Ladies and gentlemen, over these last three weeks the
  16   Government has provided you with overwhelming evidence
  17   consisting of exhibits and testimony to prove the defendants'
  18   guilt for each crime charged beyond any doubt, certainly beyond
  19   a reasonable doubt.      As a result, we ask you to return the only
  20   verdict which this evidence supports, and that's that the
  21   defendants are guilty on each and every count as charged.
  22          I thank you for your time and attention.
  23               THE COURT:    Mr. Shea.
  24               MR. SHEA:    Yes.   Thank you, Judge.
  25          Good morning, ladies and gentlemen.       I want to start by

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1856 Filed 05/10/19 Page 25 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 25

   1   addressing the less-serious counts because I'm not going to
   2   spend a lot of time on them.       I'm going to start in fact with
   3   Count Four, which is the count that charges Mr. Belcher with
   4   obstruction of justice.
   5         One of the elements that -- well, first, I mean, obviously
   6   one element is that the person charged did something to mislead
   7   or try to deceive law enforcement, and you heard the audio
   8   clips of Mr. Belcher's statements to the police on September
   9   the 24th.    This count relates to his interview with DPD on
  10   September the 24th, and I don't think you are going to have too
  11   hard a time concluding that he didn't tell the truth all the
  12   time in that interview, particularly when it came to his
  13   relationship with Mr. Brown.
  14         However, another critical element of that count is that he
  15   must tell those untruths with the intent to hinder, delay or
  16   prevent the communication of that information to a federal law
  17   enforcement officer.      I don't think there's any evidence
  18   whatsoever to suggest that when he was talking to Detectives
  19   Mitchell and Lucy on September the 24th at the Detroit Police
  20   Department that he had the specific intent to somehow --
  21   whatever it is he was saying was going to get communicated to a
  22   federal law enforcement officer.        So I think that, absent that
  23   element, you can't convict him of that count.
  24         With respect to Count Two, the drug conspiracy, and as I
  25   said to you in opening statement, there's been a lot of

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1857 Filed 05/10/19 Page 26 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 26

   1   evidence that's been presented to the effect that Mr. Belcher
   2   was a drug dealer and that in connection with his drug dealing
   3   he engaged with various people who in one form or another
   4   assisted him in connection with that.         That would include
   5   Frankie Aday.     That would include Steph Brown.       That would even
   6   include Latasia Banks, according to the evidence.           And, of
   7   course, you heard Mr. Belcher admit that he was a drug dealer
   8   to police on September the 24th.        So the fact that he was a
   9   drug dealer is not in dispute.
  10         As I also said to you in opening statement, that doesn't
  11   make him a murderer, and he's -- Count Two just charges him
  12   with the drug conspiracy.       Count Three charges him with the
  13   murder of Devin Wallace as an outgrowth of the drug conspiracy.
  14   And merely because you may believe that the Government is
  15   satisfied with its proofs with respect to Count Two doesn't
  16   mean the Government has satisfied its proofs with respect to
  17   Count Three, and that's what's of critical importance to
  18   Mr. Belcher today.      Nor does the fact that Mr. Belcher was a
  19   drug dealer conclusively prove that Andre Watson was in that
  20   conspiracy.
  21         The fact that Mr. Belcher may have associated with
  22   Frankie Aday and Nancy Eaton, Latasia Banks and Steph Brown
  23   doesn't mean he's associated with Andre Watson in connection
  24   with those drug-dealing activities.         I'll let Mr. Johnson
  25   address that more fully because I think that more centrally

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1858 Filed 05/10/19 Page 27 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 27

   1   goes to his client's concerns, but I wanted to point that out.
   2         It should be obvious to everybody in this courtroom that
   3   the main reason why this trial has taken place is over, at
   4   least from Mr. Belcher's point of view, is over whether or not
   5   Mr. Belcher was involved in the death of Devin Wallace.            So I'm
   6   going to turn to that, and I'm going to spend the rest of my
   7   time on that issue, that broad overarching issue.
   8         And I want to start by saying -- this may help you
   9   understand my argument, the structure of it as I go through,
  10   and it may help me as I try to keep it structured as I go
  11   through.    There are three broad reasons why I will be arguing
  12   to you at the conclusion of this summation why I believe you
  13   need to acquit Mr. Belcher of the murder charges.
  14         First, the Government's case relies primarily on you
  15   believing beyond a reasonable doubt a collection of very
  16   untrustworthy people, who are habitually untrustworthy, who
  17   have lived practically their entire adult lives as being
  18   untrustworthy.
  19         Second -- and I am talking about again primarily
  20   Billy Joe Chambers, Darnell Bailey and Steph Brown.           We'll talk
  21   about Latasia Banks and Sean Jackson in a little bit, but the
  22   three primary witnesses whom the Government relies on are
  23   Chambers, Bailey and Brown.
  24         Second, not only did Chambers, Bailey and Brown
  25   demonstrate through their lifestyle that they are untrustworthy

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1859 Filed 05/10/19 Page 28 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 28

   1   people, they have undeniable and clear motive to lie about
   2   Mr. Belcher in this case.
   3         And, third, the evidence that the Government points to
   4   that it would argue corroborates these untrustworthy people's
   5   version of events does not necessarily corroborate those
   6   untrustworthy people's version of events.
   7         So, with that sort of structure, let's dive into it in a
   8   little more detail.      Let's start with what we know for sure
   9   because even the untrustworthy people admit it.
  10         We know that Chambers, Brown and Bailey were involved in
  11   the murder of Devin Wallace.       Bailey tried like heck to say he
  12   wasn't really, and we'll talk about that in a minute as well,
  13   but we know, I mean these people have pled guilty to murder for
  14   hire.    It's not a whodunit when it comes to them.         The issue is
  15   can the Government prove beyond a reasonable doubt to you that
  16   Deaunta Belcher was part of their conspiracy.
  17         I believe the judge will instruct you, I believe the judge
  18   will instruct you that proof beyond a reasonable doubt is proof
  19   that is so convincing that you would not hesitate to rely on it
  20   in making the most important decisions in your own lives, and I
  21   submit to you that the testimonies of Chambers, Bailey and
  22   Brown aren't that kind of proof, don't carry that kind of
  23   convincing weight.
  24         We know that Stephen Brown previously had been convicted
  25   multiple times of felonies involving theft and stolen property.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1860 Filed 05/10/19 Page 29 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 29

   1   We know that he was on parole at the time of the murder.            We
   2   know that he's 29 years old.       For virtually all of his 20s he
   3   was locked up.
   4         We know that Billy Joe Chambers had multiple convictions
   5   involving stolen property and robbery.         We know he was on
   6   parole at the time of the murder.
   7         We know that Darnell Bailey had multiple convictions,
   8   three I believe, two for unemployment insurance fraud, one for
   9   receiving and concealing a stolen automobile.          He was on
  10   two separate probations at the time of the murder, and we know
  11   that he was engaging in various ongoing frauds, notwithstanding
  12   his convictions, up to and through the time of the murder.            We
  13   know that Darnell Bailey was so incorrigible in connection with
  14   his frauds and deceptions that he sought to educate others,
  15   like Sean Jackson, while he was locked up on how to commit
  16   frauds and deceptions.
  17         We know that he even had his family send a deceptive
  18   letter to Judge Marlinga in the Macomb County Circuit Court
  19   seeking early discharge from probation, telling the Court that
  20   he was at present locked up on charges of murder but that he
  21   wasn't a murderer.      This was in October of 2017, a few months
  22   before he pled guilty to being a murderer.
  23         I don't think I'm saying it too strongly when I say that
  24   Misters Brown, Chambers and Bailey are habitual liars and
  25   cheats.    Then they come to this case.       During the investigation

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1861 Filed 05/10/19 Page 30 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 30

   1   of this case they remained true to form.
   2         Billy Joe Chambers had three separate police interviews.
   3   He lied until -- about his own involvement until the very end
   4   of the third interview.
   5         Mr. Bailey spoke to police twice on September the 11th,
   6   wasn't forthright with them; spoke to them on September 17th,
   7   wasn't forthright with them; spoke to them on March the 8th,
   8   wasn't forthright with them.       Always played off that he didn't
   9   know anything about it, that he suspected that Wallace was
  10   killed by others because he was snitching.
  11         Mr. Brown, likewise, in the first interview he gave with
  12   the federal agents on March 9, 2015 acknowledged lying
  13   throughout that.
  14         When they ultimately confessed their involvement, when
  15   eventually they put themselves in the crime, they didn't do it
  16   out of some sense of moral obligation or ethical obligation.
  17   Mr. Chambers told us that he confessed because law enforcement
  18   showed him the evidence and he didn't want to go away for life.
  19         Mr. Bailey confessed after reviewing the indictment and
  20   after having been told by police repeatedly on March 8th, 2016
  21   that he needed to do damage control, and they were offering him
  22   a way out through cooperation from a life sentence.
  23         Stephen Brown acknowledged to us that he had been locked
  24   up for most of his 20s, as I have previously mentioned, and he
  25   wanted an opportunity to get out some day, and the Government

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1862 Filed 05/10/19 Page 31 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 31

   1   gave him that opportunity through cooperation.
   2         None of these people ultimately came to Jesus with respect
   3   to their involvement in these cases because they had all of a
   4   sudden an epiphany about doing the right thing.           They all came
   5   to the table because they wanted something pretty important to
   6   them in return, and the fact they didn't have a plea agreement
   7   yet doesn't change that elemental fact.         These people came to
   8   the table because they wanted something important in return.
   9         Their lack of candor continued through their testimony at
  10   trial.    Let's start with Mr. Chambers.       No fewer than six times
  11   he refused to answer my questions.        I didn't count how many
  12   times he refused to answer Mr. Johnson's questions.
  13         At least twice he acknowledged testifying at trial
  14   differently than he had testified before the grand jury.            At
  15   least once he acknowledged testifying at trial to you
  16   differently than he had told law enforcement just three weeks
  17   earlier.
  18         In connection with that last one, you will remember him
  19   testifying about bleaching the car and you will remember him
  20   testifying to you that Steph Brown didn't help him bleach the
  21   car, and then he acknowledged having told law enforcement
  22   three weeks earlier for the first time that he had bleached the
  23   car and that Steph Brown had helped him.
  24         The point is this.      Ultimately Mr. Chambers agreed with me
  25   that he didn't always tell facts the same way, and isn't that

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1863 Filed 05/10/19 Page 32 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 32

   1   sort of the essence of somebody who is untruthful and
   2   unreliable and how can you believe him in connection with the
   3   most important decisions of your life?
   4         It also tends to put the lie -- Mr. Chambers had these --
   5   it's been a long time, but I think you probably can remember
   6   back.    Mr. Chambers had a way of speaking that was kind of
   7   repetitive, and one of the things that he kept repeating was "I
   8   lied then, but I'm telling the whole truth now because my
   9   cooperation agreement requires me to be truthful and honest
  10   with the jury and with everybody in the courtroom."           Can you
  11   remember him saying that any number of times?
  12         Well, when on cross-examination he has to acknowledge he
  13   didn't tell the facts the same way twice even to you, it kind
  14   of undercuts that sentiment.       And, furthermore, how would you
  15   know with somebody like that when they really mean it?            Okay,
  16   I'm telling you the truth now, I really mean it.
  17         Let's move on to Mr. Bailey and his testimony here.           He
  18   constantly tried to weasel out of responsibility for
  19   everything, it seemed, that he's done in his life that was
  20   wrong.    Early on Mr. Cralle tried to get Mr. Bailey to explain
  21   one of his convictions, it was the receiving and concealing a
  22   stolen automobile conviction, and you will remember Mr. Bailey
  23   saying, well, yeah, I pled guilty to it, but it was really a
  24   technical violation.      I learned afterwards that when a car gets
  25   repossessed it's not really mine anymore, it's theirs, and so

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1864 Filed 05/10/19 Page 33 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 33

   1   technically I was in possession of a stolen vehicle and that's
   2   why I pled guilty to it.
   3         He told you that until he got involved with the Government
   4   he didn't consider straw buying to be fraud.          He told you that
   5   when he educated Sean Jackson as to how to commit frauds when
   6   they were together in pretrial detention it was because he
   7   wasn't used to the federal system and didn't realize that he
   8   shouldn't have opened up to Mr. Jackson in that sense, in that
   9   respect.    He blamed Mr. Jackson for essentially getting the
  10   information out of him.
  11         He told you that he didn't know that the letter that his
  12   family sent on his behalf to the judge would say what it said.
  13   He told you he didn't know that Mr. Wallace was going to be
  14   killed on September the 11th.
  15         And his last words to me on cross-examination were:           "I
  16   don't feel like I should do any time except for the frauds, to
  17   be honest with you," and this is from a guy who earlier this
  18   year or late last year, I forget what day it was, but you could
  19   check it out, on his Rule 11 Plea Agreement pled guilty to
  20   Murder for Hire.     This is a man who not only doesn't have a
  21   moral compass, he doesn't seem to have the capacity to be truly
  22   forthright even when he's on the witness stand under oath and
  23   talking to you.
  24         Mr. Brown is another person who can't seem to tell --
  25   can't seem to tell a story the same way twice.          I'll give you

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1865 Filed 05/10/19 Page 34 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 34

   1   some examples.
   2         To you he testified that he received $500 directly from
   3   Deaunta Belcher in partial payment for the murder.           To agents
   4   he said he never received anything from Deaunta Belcher.
   5         To you he said I didn't have any telephone conversations
   6   with Darnell Bailey before the murder.         To agents he said he
   7   did have telephone conversations with Darnell Bailey before the
   8   murder.
   9         To you he said he didn't have any discussions with
  10   Darnell Bailey after the Zeidman's meeting about getting the
  11   murder done.     To agents he did have those discussions.
  12         He couldn't keep his story straight even between day one,
  13   when he testified on direct examination, and day two, when he
  14   testified on cross-examination.        Again, some examples:
  15         The Government asked him about whether he had gotten a
  16   telephone call from Mr. Belcher about trying to locate
  17   Mr. Wallace on Grand River near a mechanic shop, and Mr. Brown
  18   said I got a telephone call from Mr. Belcher about that and
  19   this occurred between August 26th and -- August 25th and August
  20   the 31st.
  21         On cross-examination the next time we were in court --
  22   maybe it wasn't the next day, I don't remember if there was a
  23   weekend in between because the dates blend together, but I
  24   think it was the very next day -- his story had changed.            He
  25   still says he got the telephone call from Mr. Belcher but that

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1866 Filed 05/10/19 Page 35 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 35

   1   it occurred sometime between August the 11th and August the
   2   25th.
   3         There is a second example, and then I'm going to tell you
   4   why these are important.       On day one in direct exam after the
   5   discussion of whether Mr. Brown was asked to try to locate
   6   Wallace near Grand River and the mechanic shop, after that the
   7   next line of questioning had to do with did you receive
   8   frequent calls from Mr. Belcher after that, between the end of
   9   August and September the 11th, and Mr. Brown described it yes,
  10   he had.    On cross-examination the next day he, again, changed
  11   his mind and, again, he said, well, those calls actually
  12   started -- I got frequent calls between August the 11th and
  13   September the 11th, an entire month.
  14         Why am I harping on this?       Why is this important?      It's
  15   important because, if you accepted Mr. Brown's testimony on
  16   direct day one, you would know they were lies because if you
  17   look at the call detail records there were no telephone calls
  18   from Mr. Belcher to Stephen Brown from August the 26th until
  19   September the 9th.      He could not have been calling Mr. Brown to
  20   try to find Wallace on Grand River between the 25th and the
  21   31st.    He could not have been calling Brown frequently between
  22   the end of the month and September the 11th because they
  23   weren't having conversations or at least Mr. Belcher was not
  24   calling Mr. Brown.
  25         There are times when people aren't telling the truth

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1867 Filed 05/10/19 Page 36 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 36

   1   because they are simply mistaken.        People make mistakes.      Then,
   2   there are times when people aren't telling the truth because
   3   they don't want to be forthright.        Mr. Brown's -- I'm just
   4   giving you some examples.       Mr. Brown's discrepancies, his
   5   change of testimony from one day to the next, his change in
   6   recollections from one interview to the next or from
   7   one interview to his testimony today, they are too numerous,
   8   they are too regular to simply be mistakes.
   9         Mr. Brown's demeanor with the Government was completely
  10   different than his demeanor with me.         I could have challenged
  11   him on whether the sun rose in the east, and he would have said
  12   it didn't or he never testified that it did.
  13         He clearly wanted to feed the Government the information
  14   that the Government wanted fed and he wanted to fight with
  15   everybody else, and he caught himself up in numerous
  16   discrepancies as a result of that and that's a sign of someone
  17   who doesn't have candor, who is not honest, who is deceptive,
  18   not just someone who is mistaken.
  19         In addition to these cooperators being liars by nature and
  20   liars by habit, it can't be denied that they have a strong
  21   motive to lie about Mr. Belcher in this case.          They knew that
  22   the only way they were going to have an opportunity to walk the
  23   streets again was to cooperate.
  24         As we heard Sergeant Eby say to Darnell Bailey, they had
  25   to tell on people.      That was the only way they could do damage

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1868 Filed 05/10/19 Page 37 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 37

   1   control.    Implicating Mr. Belcher was not hard to do even if it
   2   wasn't the truth.
   3          Mr. Chambers was shown four photos and asked to describe
   4   the roles of each them.       Well, he knew that Mr. Belcher wasn't
   5   in his car.     He knew that Mr. Belcher wasn't at the window of
   6   the victim's car.      He knew that Mr. Belcher was a boss of
   7   Stephen Brown in the drug business.         He knew that Mr. Belcher
   8   and Mr. Bailey were associated.        It's not hard to say, well,
   9   jeez, if I'm being shown the photograph he must have a role,
  10   his role must be as some guy who gives instructions or is a
  11   director of some kind or is behind the scenes in some fashion.
  12   It's not hard to make that up.
  13          With respect to Stephen Brown, by the time he was
  14   cooperating he had the indictment and the indictment laid it
  15   out.   This is the original indictment, which is in evidence as
  16   Defendant's Exhibit G1, and if back in the jury room you look
  17   at Defendant's Exhibit G1 and you go to Page 3 that describes
  18   the manner and means of the conspiracy, you will see language
  19   that says the Government alleges Deaunta Belcher agreed to pay
  20   Stephen Brown a sum of U.S. Currency to murder Devin Wallace
  21   because of his cooperation with the DEA.         You will see the next
  22   paragraph says that Deaunta Belcher and Darnell Bailey arranged
  23   to meet with Devin Wallace on the afternoon of -- at They Say
  24   Restaurant, and it will continue on, regarding that being the
  25   way that Wallace was killed.       Brown has the indictment by the

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1869 Filed 05/10/19 Page 38 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 38

   1   time he's cooperating.      He knows what the Government's theory
   2   is.
   3         With respect to Mr. Bailey, he also had the indictment by
   4   the time he was cooperating, but in addition to that, he had
   5   Sergeant Eby telling him in their interview in March of 2015
   6   what everybody's roles were, and Sergeant Eby said to him, hey,
   7   we know Belcher was the mastermind, you've got to tell on him.
   8   It's not hard for any of these three men to know how to frame
   9   Deaunta Belcher within the Government's theory.
  10         And Bailey was more than happy to adopt that theory
  11   because if you look at the evidence it looks kind of compelling
  12   that he actually was the one who organized this whole thing.
  13   He acknowledged on cross-examination that he had plenty of
  14   motive.    Wallace had cheated him out of tens of thousands of
  15   dollars over the previous two or three years, and he detailed
  16   it.
  17         Brown told us that the Zeidman's meeting was initially
  18   arranged between him and Belcher by phone so that he could get
  19   a resupply of marijuana to sell.        He told agents that when he
  20   was on that call with Belcher setting up that meeting he heard
  21   another voice over the phone screaming about how the victim had
  22   to be killed because he was messing with that guy's money.            At
  23   the Zeidman's meeting he met Bailey and he recognized the voice
  24   as having been Bailey's.
  25         So the first contact, if Brown's statement to the agents

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1870 Filed 05/10/19 Page 39 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 39

   1   is to be believed, that he knew that somebody wanted the victim
   2   dead was through Bailey telling him that, not Belcher telling
   3   him that.
   4         Brown also told agents that he and Bailey communicated by
   5   phone before the murder about it and that Brown used a
   6   different number than the one we became familiar with through
   7   the call detail records, which is why you wouldn't see those
   8   calls in the call detail records.
   9         The evidence is that Bailey paid money that filtered its
  10   way to Brown through the Motor City Casino meeting.           That,
  11   Brown testified, was set up by a phone call that he and Bailey
  12   had, which confirms that he and Bailey were capable of
  13   communicating by telephone directly.
  14         Bailey also told us that he was associated with a number
  15   of other people who were beefing with Wallace and at least
  16   one of whom who had actually said that he wanted Wallace dead,
  17   and that these other people knew that Bailey was associated
  18   with the victim, Bailey was close to the victim, and presumably
  19   could help facilitate state that.
  20         We know, just talking about September 11th, we know that
  21   the victim was in a hurry.       We know that he kept his engine
  22   running.    We know that he didn't want to come into the
  23   restaurant.     We know that Bailey engaged him in conversation
  24   for 20 minutes outside on the side of the road.           You can watch
  25   the full 20 minutes at some point, if you'd like.           We know that

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1871 Filed 05/10/19 Page 40 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 40

   1   Bailey knew he was in a white Benz.         We know that, we have
   2   evidence that suggests that Bailey and Brown had the ability to
   3   communicate directly with each other.         Bailey actually told us
   4   that he knew that Wallace was going to be driving the white
   5   Benz before Wallace even arrived at the They Say meeting, and
   6   finally, Sean Jackson testified that when Bailey was talking to
   7   him about the murder when they were locked up together Bailey
   8   omitted any mention of Bailey's beefs with Wallace.           Obviously
   9   he didn't want to talk about that, he wanted to deflect
  10   attention elsewhere, and yet Jackson was insightful enough
  11   about Bailey to tell the grand jury that Bailey had a motive to
  12   deflect blame onto Belcher so that Bailey wasn't blamed on the
  13   street for Wallace's murder.       There's a fair amount of evidence
  14   here that points to Bailey as the real mastermind in this
  15   conspiracy and not Mr. Belcher.
  16         The Government claims that Chambers' and Bailey's and
  17   Brown's stories about Mr. Belcher's role in this are
  18   corroborated by other evidence, but that isn't necessarily so.
  19   There's a series of things.
  20         Let's start with the suggestion that Mr. Belcher had
  21   motive.    The only person who has told you that Mr. Belcher had
  22   a motive to kill Wallace is Mr. Bailey.
  23         And what did Mr. Bailey say first about that?          In his very
  24   first interview after he signed his proffer agreement in
  25   November of 2017 he said that Mr. Wallace and Mr. Belcher had a

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1872 Filed 05/10/19 Page 41 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 41

   1   grudge because Mr. Belcher stiffed Mr. Wallace on a drug deal.
   2         He didn't say anything about anything else.          He didn't say
   3   Belcher was mad at him because of fraud.         He didn't say Belcher
   4   was mad at him because of any other drug-related reason.            But,
   5   by the time we got to trial, Bailey's story had morphed into
   6   Belcher was mad at Wallace for the same reasons that all of us
   7   were, because Wallace kept messing with our money, and also
   8   because Wallace had sold Belcher some bad heroin.
   9         Well, if that were true, why didn't Bailey say that to the
  10   agents in the same interview that he signed his proffer
  11   agreement where he agreed he was going to tell the truth and he
  12   was going to volunteer all information reasonably related and
  13   not omit things.     Why didn't he tell it then?
  14         The reason Mr. Bailey's story had to change over time is
  15   because it doesn't make sense for Mr. Belcher to be mad at
  16   Mr. Wallace over the fact that Mr. Belcher stiffed him on a
  17   drug debt.    That's not, you know -- if I were Mr. Wallace and I
  18   had been stiffed on a drug debt, I might have wanted
  19   Mr. Belcher dead, but it doesn't work the other way around.
  20   It's doesn't make sense.       So that's why Mr. Bailey's story
  21   changed, and that's why it's not reliable.
  22         The Government points to the fact that Mr. Belcher lied to
  23   police about knowing Brown, about knowing Watson, about Brown's
  24   1332 number belonging to another worker of his by the name of
  25   Block or Blockhead.      Mr. Belcher did lie about those things.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1873 Filed 05/10/19 Page 42 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 42

   1   That doesn't make him a murderer.        That doesn't corroborate
   2   Bailey's and Brown's and Chambers' story about Belcher being
   3   involved in this murder.
   4          Detective Mitchell acknowledged that people lie to him all
   5   the time in police interviews whether they are guilty or not.
   6   He acknowledged that a drug dealer might lie about the identity
   7   of persons who work for him, particularly if that drug dealer
   8   is under charges himself, which Mr. Belcher was.           That a drug
   9   dealer might lie about people who work for him if they have
  10   their own troubles with the law, which we know Stephen Brown
  11   did.   He was on parole.      He was not supposed to be selling
  12   drugs at all, but particularly not when you're on parole.            So
  13   there's any number of reasons why Mr. Belcher may have lied to
  14   police, but they are unrelated to whether or not he was
  15   involved in a murder.
  16          The Government points to the Pantheon episode supposedly
  17   occurring on August the 25th.        First, I don't know how
  18   Steph Brown could have remembered from the witness stand last
  19   week that he knew specifically that episode happened on August
  20   the 25th, 2015.     He couldn't even tell me how far it was or how
  21   long it would take to get from Faircrest Street to the Family
  22   Dollar or to get from the Family Dollar to his house,
  23   notwithstanding the fact that he was familiar with all of those
  24   places, but he remembers specifically August the 25th, that was
  25   the date of the Pantheon episode.        I don't think his memory is

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1874 Filed 05/10/19 Page 43 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 43

   1   that good.    He was rehearsed.
   2         More to the point, on cross-examination he acknowledged
   3   that the Pantheon episode happened at night.          It didn't happen
   4   in the afternoon.      He wouldn't have gotten any calls from
   5   anybody about where Wallace was at The Pantheon Club after
   6   8 o'clock at night.      He said that.
   7         So all of the calls that the Government is pointing to in
   8   that Exhibit 16, I think, that showed a bunch of back and forth
   9   between 4:00 and 5:00 or 3:30 and 4:30 or whatever it was are
  10   not related to the Pantheon episode, and they are testament to
  11   the fact that these people talk to each other all the time
  12   anyway about other stuff.       I mean, the Government wants you to
  13   think that they were just fixated, all five of them, on
  14   Devin Wallace all of the time.        That's not true.     They have
  15   other lives.     They were doing other things, a lot of them were
  16   illegal, but they had any number of reasons why they would be
  17   talking to each other.
  18         They point to Zeidman's as the place where the plot was
  19   hatched, except that we know from Mr. Brown's testimony, and he
  20   had no reason to lie about this, that the reason he was going
  21   to Zeidman's in the first place was to get resupplied with
  22   marijuana by Mr. Belcher.       That doesn't mean that he had a
  23   discussion with Mr. Belcher at that meeting about killing
  24   Wallace, although certainly could have had that discussion with
  25   Mr. Bailey at that meeting because he was present.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1875 Filed 05/10/19 Page 44 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 44

   1         They point to Latasia Banks, Mr. Belcher's former
   2   girl friend, mother of his children, as corroboration of his
   3   involvement because of her testimony that he confessed to her a
   4   month afterwards.      First, I'm not sure that the words "nigga
   5   too greedy, he had to go" is a confession as opposed to an
   6   observation.     Mr. Belcher may have known why Wallace was
   7   killed.    That doesn't mean he was involved in it.
   8         But even if you accept it as her testimony, that he
   9   confessed to her, you shouldn't believe it.          This is more
  10   bought-and-paid-for testimony.        It is testimony that was given
  11   in return for leniency in her own very recently brought case,
  12   and it's inconsistent with two other significant pieces of
  13   evidence.
  14         I invite you back in the jury room to listen to jail call
  15   Government Exhibit 18A.       That's the call that we heard between
  16   Mr. Belcher and her where the call begins with some just
  17   general hi, how are you doing sort of things, and then we're
  18   going to talk more about that beginning.         It segues.    It was
  19   important to the Government because it demonstrated Mr. Belcher
  20   instructing Ms. Banks about who owed money for drugs.            So
  21   that's why it was played.
  22         But, if you go back and you listen to the early portion,
  23   you hear Mr. Belcher ask what happened, and you hear Ms. Banks
  24   say that on the news the night before they had described him as
  25   the one who had put the hit out and then you hear her say, she

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1876 Filed 05/10/19 Page 45 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 45

   1   thought to herself, "yeah, right."        And then you hear
   2   Mr. Belcher say, "That shit's crazy, I had nothing to do with
   3   that shit."     And Latasia responds, "Keep your head up, babe.
   4   Stay strong."
   5         This is not the kind of conversation that two people have
   6   if they previously had a conversation where Mr. Belcher has
   7   confessed to Latasia Banks, "Hey, I had something to do with
   8   this."    Go back and listen to that conversation.
   9         The second significant piece of evidence that belies her
  10   claims that Mr. Belcher confessed to her is the fact that last
  11   April she talked to my investigator Desiree Edwards, who asked
  12   her whether she had any information that indicated that
  13   Mr. Belcher was involved, and she said no.          At that time she
  14   didn't have any reason to lie to Desiree Edwards.           She didn't
  15   have any reason to mislead me, but she had plenty of reason to
  16   lie to the Government.
  17         Let me point out one other thing as an aside.          She
  18   testified under oath that she was only involved in
  19   Mr. Belcher's drug business after his arrest, but we know from
  20   Frankie Aday's testimony that's not true.          Frankie Aday
  21   testified that early on when he and Nancy were getting drugs
  22   from Deaunta they were also getting them from Latasia, and they
  23   were getting them dropped off at Nancy's house where Frankie
  24   lived and the reason they were getting dropped off there is
  25   because it was close to where Latasia worked and Latasia

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1877 Filed 05/10/19 Page 46 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 46

   1   sometimes made the deliveries.        And so she lied to you about
   2   that, too.    She's not believable.
   3         Let's talk about the call detail records and particularly
   4   the call detail records on September 11th.          The Government
   5   suggests that these records, combined with the video,
   6   corroborate the fact -- corroborate Stephen Brown's testimony
   7   that Belcher was giving them directions.
   8         I suggest that you can't just look at the dates and times
   9   of the records themselves and the video.         You have to pay
  10   attention to the testimony that Brown gave in connection with
  11   them.
  12         And just to introduce this part, remember that there are
  13   exhibits, Defense Exhibits K1 and K2, for instance, that show
  14   that he and Brown had very regular, very extensive contact for
  15   weeks and weeks leading up to September the 11th.           So it
  16   certainly wasn't unusual for them to have a lot of discussions.
  17         We even heard Agent Rienerth testify that on some days
  18   they talked just as often, just as many times on those other
  19   days as they did on September the 11th.         So it's not like it
  20   sticks out like a sore thumb and that it never happened before.
  21         There's nothing intrinsically suspicious about calls
  22   between, even a lot of calls, between Belcher and Brown.            What
  23   makes them suspicious to the Government is the timing of them.
  24   I've got to give them that, the timing is something that if
  25   you're the Government you're going to be suspicious about it,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1878 Filed 05/10/19 Page 47 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 47

   1   but also what Mr. Brown says about those calls.           And so that
   2   means you've got to believe Mr. Brown, what he says about those
   3   calls.
   4          Again, what Stephen Brown actually says about those calls
   5   depends on the day on which he was testifying.          On day one he
   6   testified that he got all kinds of telephone calls from
   7   Mr. Belcher starting with the "big fish" call all the way while
   8   they were traveling to They Say from Theodore Street and until
   9   they arrived there, all of these telephone calls from
  10   Mr. Belcher he testified to having occurred on direct
  11   examination.     The problem with his testimony is that, again,
  12   there aren't that many telephone calls from Mr. Belcher to
  13   Mr. Brown on that day.      There's only two.      There's three if you
  14   count one that goes to voice mail, but in terms of
  15   voice-to-voice contact, there was two.
  16          So on day two, of course, Mr. Brown's testimony has
  17   changed.    These aren't all telephone calls from Mr. Belcher to
  18   him.   They are telephone calls that Mr. Brown has placed to
  19   Mr. Belcher, which is a little closer to the truth.           He does
  20   place some telephone calls to Mr. Belcher on that day in that
  21   period of time.     Not nearly as many as he says and ultimately
  22   not at the times he says that he placed them.
  23          So, for instance, he says that he sees the white Camaro
  24   that Mr. Belcher was driving, driving away from him on
  25   Joseph Campau.     We have all seen that on the video.        He makes

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1879 Filed 05/10/19 Page 48 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 48

   1   the left-hand turn off Franklin on Joseph Campau, makes another
   2   left-hand turn, we hear from Officer Mitchell, that he parked
   3   in front of his residence for a few minutes.
   4         Brown testified that after he saw Belcher pull away that
   5   he called Belcher from his phone a number of times and he
   6   called Belcher one time on Watson's cell phone after he sees
   7   Belcher drive away.      This can't be true.     It isn't true.
   8         The video tells us that Belcher pulled off at 4:51 p.m.
   9   if you correct the video time by subtracting a minute and
  10   45 seconds.     The video tells us that Chambers' car drives that
  11   same route down Joseph Campau passing Franklin Street where the
  12   Benz is parked and Gino is standing next to the window at
  13   4:55 p.m., four minutes after Belcher is already gone.
  14         After that, of course, after 4:55, Chambers' car does the
  15   big loop to get back to Franklin Street to pull up and ambush
  16   Wallace from behind.      There are no calls, no calls, zero calls
  17   to or from Belcher and Brown or Belcher and Watson in that
  18   period of time.
  19         Brown says that when they were stopped behind the school
  20   bus very shortly before pulling up on Wallace that's when he
  21   used Watson's phone to call Belcher.         Again, there are no
  22   records that confirm that.       As a matter of fact, they confirm
  23   the opposite.     There were no calls then.
  24         So it doesn't make sense for the explanation for these
  25   clear inaccuracies to be they are just innocent inaccuracies.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1880 Filed 05/10/19 Page 49 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 49

   1   Mr. Brown met with the Government prior to taking the stand.
   2   He went over his reports.       He went over his anticipated
   3   testimony.    There's only one explanation for why Mr. Brown
   4   can't tell the story correctly, and that's that he can't keep
   5   his lies straight.      He's not believable.
   6         It is not Mr. Belcher's burden to prove to you what might
   7   explain events differently than how the Government wants you to
   8   believe them, but let's think about some things.            One thing
   9   that everybody seems to agree with is there was supposed to be
  10   a meeting at They Say late that afternoon, and Mr. Bailey said
  11   there were two reasons for it:        One was to sell a car and
  12   one was to meet with some other people about some other general
  13   business-related accounts, some Juan guy and somebody else.
  14         It's not disputed that Mr. Bailey arrived first, that
  15   Mr. Wallace arrived second, somewhere around 4:30 or 4:35, that
  16   Mr. Belcher somewhere around 4:45.        There's no dispute that
  17   Mr. Belcher and his daughter exited the Camaro, walked up to
  18   the door of They Say, you see some conversation between him and
  19   Mr. Bailey, and Mr. Belcher turns around and walks back.
  20   Mr. Bailey tells us that he told Mr. Belcher there's nobody
  21   here.
  22         Mr. Belcher goes back to his car, gets in the car,
  23   and after a few minutes drives away at 4:51.          Per
  24   Detective Mitchell, who reviewed video that we don't have,
  25   but who reviewed the River Place Apartment video, Mr. Belcher

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1881 Filed 05/10/19 Page 50 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 50

   1   arrived home around 4:52.
   2         According to the call detail records, Detective Mitchell
   3   confirmed Mr. Bailey placed a call to his girl friend at 4:54.
   4   We know from the call detail records he got a call from
   5   Mr. Bailey at 4:57 that lasted 80 seconds.          During that period
   6   of time, if you do the math, Mr. Bailey would have had to have
   7   been at the window of Mr. Wallace's car during that
   8   conversation.     You can actually see, if you look at the video
   9   around that time, Mr. Bailey going into his pocket and pulling
  10   something out.
  11         According to Detective Mitchell, at 4:59, after the
  12   80-second contact with Mr. Bailey, Mr. Belcher leaves the car,
  13   goes in the apartment complex where his residence is for a
  14   couple minutes, comes back out, it's 5:01, gets back in the
  15   car, immediately turns around and heads back to the scene.
  16         Belcher could not have known that Wallace had been killed
  17   by then.    He hadn't had any communication with anybody to have
  18   let him know that.      The more reasonable explanation is he was
  19   going back to the scene as an outgrowth of that 80-second call
  20   he had gotten from Bailey at 4:57.        That's the more reasonable
  21   explanation.
  22         Bailey says we didn't actually have a call.          I dialed him,
  23   and then I thought better of it and I just forgot to hang up
  24   and it was 80 seconds of dead air.        There's a problem with
  25   that, ladies and gentlemen.       It's a very serious problem.       It's

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1882 Filed 05/10/19 Page 51 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 51

   1   Mr. Belcher's records that show the 80-second call.
   2         If I call one of you and I'm not talking and it sounds
   3   like a butt dial, are you going to wait for a minute and-a-half
   4   before hanging up?      No, you are going to hang up.       After
   5   realizing, okay, this isn't a real call, you are going to hang
   6   up.   It's not going to show up as an 80-second call on the
   7   recipient's records.      It may show up as an 80-second call if
   8   it's a butt dial on the dialer's, but the fact that the
   9   recipient's records show an 80-second connection indicates that
  10   Mr. Belcher was doing something on that connection and what he
  11   was doing was talking to Mr. Bailey and probably Mr. Wallace.
  12   It's another example of how Mr. Bailey is a liar.
  13         Why is Gino lying about that?       Is it because he placed
  14   that 80-second call to Mr. Belcher at 4:57 p.m. in order to
  15   hold Mr. Wallace at the scene a little bit longer?           Is he doing
  16   that because he knew that the shooters were getting close or
  17   were imminently arriving, as they did just a couple minutes
  18   later, and did he know that because he had the capacity to have
  19   direct communications with Stephen Brown that don't show up in
  20   the call detail records because Stephen was using a different
  21   phone?    Why else would Mr. Bailey lie about not actually having
  22   what clearly was an 80-second contact with Mr. Belcher at
  23   4:57 p.m.?
  24         This doesn't change the fact that Mr. Belcher had contacts
  25   with Mr. Brown that afternoon, and he had a couple with

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1883 Filed 05/10/19 Page 52 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 52

   1   Mr. Watson as well.      But, again, in order for you to construe
   2   those contacts as being related to the murder of Devin Wallace,
   3   you've got to believe Stephen Brown beyond a reasonable doubt,
   4   and I don't think that Stephen Brown's testimony carries that
   5   weight.
   6         I'm almost done here.
   7         Let's remember a couple other things.         This murder
   8   occurred a block and-a-half from where Mr. Belcher lived at
   9   5:00 p.m. on a Friday afternoon, broad daylight.           Who does
  10   that?    I mean, if you really want to kill somebody are you
  11   going to do it a block and-a-half from your house at 5:00 in
  12   the afternoon?     Are you going to go back to the scene, and
  13   innocent or not, you are going to take your daughter with you?
  14         He told Gino to call 9-1-1.       He stayed and he spoke with
  15   the police.     Those are not actions that are consistent with
  16   somebody who is involved in a murder.
  17         I'm going to conclude.
  18         The foundation for the Government's murder case against
  19   Mr. Belcher is built on sand.        Every relevant law
  20   enforcement -- I'm sorry, non-law enforcement witness in this
  21   case is singing for their supper, is telling you something that
  22   they want you to believe so the Government gives them something
  23   in the end that is very significant, their liberty.           They get
  24   to go home.     Maybe not right away, but a hell of a lot sooner
  25   than they would otherwise.       That is a powerful, powerful

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1884 Filed 05/10/19 Page 53 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 53

   1   motivator, and they are seeking to bury Mr. Belcher so they can
   2   go free.
   3         The judge may instruct you on how to consider such
   4   evidence, and I ask you to take that instruction really to
   5   heart.    These are people who have lived their lives as liars,
   6   cheats and thieves, as I have said more than once, and the
   7   other evidence in this case, the videos, the call records make
   8   sense to the murder case only if you believe these liars,
   9   cheats and thieves beyond a reasonable doubt, only if you would
  10   rely on their word in making the most important decisions in
  11   your own life.     I don't think their word is worth that kind of
  12   reliance, and so I'm asking you to find Mr. Belcher not guilty
  13   of the homicide counts.       Those are Counts One and Three.
  14   Thank you.
  15               THE COURT:    We'll take a short recess, ladies and
  16   gentlemen.
  17               MR. JOHNSON:    Judge, may we approach after the --
  18               THE CLERK:    All rise for the jury.
  19         (Jury out at 11:04 a.m.)
  20               THE COURT:    Yes, Mr. Johnson.
  21               MR. JOHNSON:    Yes, Judge, I wanted to approach.
  22               THE COURT:    Pardon?
  23               MR. JOHNSON:    I wanted to approach on an evidentiary
  24   issue.
  25               THE COURT:    Go ahead.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1885 Filed 05/10/19 Page 54 of 98


                            Defendant Belcher's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 54

   1               MR. JOHNSON:    I believe that Mr. Haugabook argued to
   2   the jury that my client made a statement, he talked about the
   3   substance of that statement, and he based an argument on that
   4   statement.    That statement never came in.        There was no
   5   testimony to that statement.       That statement was not admitted,
   6   no, and -- unless I overlooked it.
   7               MR. CRALLE:    You did.    The statement came in.
   8   Special Agent Rienerth testified on Monday about his interview
   9   with your client.      He did not introduce the oral statement.         He
  10   testified to the substance.       Every single bit of that came in.
  11   We can pull the transcript.
  12         I asked the questions.      That was the testimony.      That was
  13   Monday.
  14               MR. JOHNSON:    I don't recall that, Judge.
  15               MR. CRALLE:    Well, I recall it distinctly, last
  16   Monday.
  17               THE COURT:    The jury will recall the testimony.        You
  18   can argue that he didn't make the statement, but it's up to the
  19   jury to decide whether he made it or not.
  20         I'm not going to correct anything Mr. Haugabook said.           You
  21   can argue that Mr. Haugabook said Mr. Watson made a statement.
  22   "My recollection, ladies and gentlemen of the jury, is he did
  23   not make a statement.      It's for you to decide."       I mean, you
  24   will deal with that in your argument, and you will deal with it
  25   in your argument.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1886 Filed 05/10/19 Page 55 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 55

   1               MR. CRALLE:    Yes, Your Honor.
   2               THE COURT:    Thank you.    I'll be back.
   3               MR. SHEA:    How long, Judge?
   4               THE COURT:    I will tell you, the Marshals govern the
   5   time of the recess, okay?       You have control of it.
   6               MARSHALL:    You've got it.     All right.
   7               THE COURT:    I may not like what you do, but you still
   8   have it.
   9               MARSHALL:    Will do.
  10               THE COURT:    Unless you want to use the public
  11   restroom.
  12         (Recess from 11:07 a.m. to 11:37 a.m.)
  13               THE COURT:    Okay.   Everybody be seated, please.
  14         Bring in the jury.
  15               THE CLERK:    All rise for the jury.
  16         (Jury in at 11:38 a.m.)
  17               THE COURT:    Be seated.
  18         Mr. Johnson.
  19                                                               (11:39 a.m.)
  20               MR. JOHNSON:    Good morning, ladies and gentlemen.
  21         Thank you for serving.      Thank you for your attentiveness.
  22   If there's been any exchanges between me and the judge or the
  23   Government lawyers that you find offensive, I apologize, and I
  24   ask you not to hold that against my client.          I have the utmost
  25   respect for counsel at this table as well as the Court.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1887 Filed 05/10/19 Page 56 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 56

   1         If you recall when we first met, I told you that I was
   2   going to make a promise to you, and that promise was to try to
   3   dig into this case and deliver you facts and information that
   4   you wouldn't normally get through the Government and I asked
   5   you in return to be attentive and to be objective and I thought
   6   that if we worked together it would help you reach a verdict, a
   7   verdict that was fair based on objective and impartial,
   8   unbiased consideration.       Even though I didn't have the burden,
   9   I told you I was going to take on that burden.
  10         I think from watching you, from being here with you, that
  11   you have been attentive.       This has been a very difficult task
  12   because of the nature of the evidence, and when I say "nature
  13   of the evidence," I mean, as brother counsel pointed out, the
  14   lies, the inconsistencies, the sort of witnesses that we're
  15   dealing with here.
  16         So I want to further assist you in ferreting out this
  17   evidence, and in doing that, I'm not going to go over a lot of
  18   things that brother counsel has gone over.          He's done a fine
  19   job pointing out those things, but what I want to do -- and I
  20   told you when we first met, I told you I thought you had a very
  21   difficult task, and that difficult task, it seems to be
  22   extremely difficult in this case because of the nature of the
  23   evidence, and the nature of the evidence are lies and
  24   inconsistencies based on testimony coming from liars, cheats,
  25   murderers, thieves, professional impersonators, and that's very

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1888 Filed 05/10/19 Page 57 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 57

   1   difficult.
   2         And the instructions the judge may give you will talk
   3   about the nature of the evidence, but what I want to do is I
   4   want to get into the nuts and bolts of the instructions because
   5   that's where you are going to have to go.          And I'm not going to
   6   go through all of the testimony of these liars.           I'm going to
   7   take out that testimony that I think you can pigeon-hole into
   8   these instructions so that when you get back in the back you
   9   will understand these instructions and how to apply the --
  10   adjudicate the facts, the facts that this case turns on.            So
  11   I've got a little bit more work to do with you so just bear
  12   with me.
  13         I'm going to talk about some of the instructions that the
  14   Court may give that I think are very important for you to
  15   consider and that I want you to consider strongly in my case,
  16   and that is -- and I'm going to try to move as quickly as I can
  17   because I'm on a time schedule here.
  18         There may be an instruction that talks about proof beyond
  19   a reasonable doubt, and what I want you to know is that the big
  20   thing that I'm relying on in this, in this instruction is that
  21   you have to look at the possible doubts and doubts based purely
  22   on speculation are not reasonable doubts.          So you've got to
  23   look at that testimony real close.
  24         I'm real big in this case on the lack of evidence, and the
  25   lack of evidence I think is so important in this case because a

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1889 Filed 05/10/19 Page 58 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 58

   1   lack of evidence you can attach a reasonable doubt to.            So
   2   you've got to look at the evidence, and if there's a lack of
   3   evidence in respect to where is the gun, a lack of evidence
   4   into a number of factors, you can attach reasonable doubt.
   5         You have to look at all the evidence.         If it has more than
   6   one reasonable explanation, and I'm going to give you some
   7   examples, if there's more than one reasonable explanation,
   8   there may be a reasonable doubt.        If there's two or
   9   three reasonable explanations, there may be a reasonable doubt,
  10   and that's why I think the lack of evidence is so important.
  11         It's also important when you talking about circumstantial
  12   evidence, you know, and that circumstantial evidence gets into
  13   the links in the chain, you know, does the links connect.              The
  14   Government has a theory.       I want you to look at that theory.           I
  15   want you to look at if there's -- follow that theory.            Follow
  16   my theory.    My theory is going to talk about the evolution of
  17   the lie, where the lie started, where the lie ends.           There can
  18   be more than one reasonable explanation to this case, to their
  19   theory, and if I give you one, then we may -- you can say
  20   there's a reasonable doubt.       So that's very important.
  21         The nature of the evidence.       You clearly have to look at
  22   the fact that this evidence comes in through liars, cheaters,
  23   con artists.     You've got to look at that because that's the
  24   nature of this case.      So credibility is going to be very
  25   important on your part, looking at whether the evidence is

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1890 Filed 05/10/19 Page 59 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 59

   1   credible.
   2         Judge the testimony of the snitches, okay?          They are the
   3   government witnesses, but I need you to, as the instructions
   4   will tell you, use your common sense.         I just need you to use
   5   your common sense, common sense when you're talking about what
   6   Watson did when he was standing next to someone while an
   7   agreement was being made, were there words spoken, were there
   8   acts, were there gestures.       Remember, I told you in the
   9   beginning that you have to connect -- if you commit a crime,
  10   you have to connect the actus reus with the mens rea.            You
  11   can't have a crime unless you connect the mental state with
  12   some sort of act.
  13         So if you're looking at what Watson may have said, did he
  14   say anything?     I'm big on that.     I'm talking about were there
  15   words spoken, not what somebody else said, and is there
  16   corroborating facts, okay?
  17         So that instruction, I think, is very important, and when
  18   you're talking about reasonable doubt, it will explain to you
  19   what it means, and I always like to say, and recall I said,
  20   demand the quality of evidence that you would want your loved
  21   one to be, if they were on trial, and I think that's big.
  22         In this case the Government had the burden of proof.
  23   There's been hours of interrogation with Brown, Bailey,
  24   Paymond, the interrogating detectives.         There were audio
  25   recordings of statements by my client.         They didn't produce

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1891 Filed 05/10/19 Page 60 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 60

   1   that.    The Government didn't produce that so you won't see
   2   that.    You won't see all of the evidence in this case so I have
   3   to ferret through what you do have, but you can look at -- I'm
   4   here to try to get to the truth.        Sometimes the Government
   5   doesn't give you all the evidence, okay?         And you can look at
   6   that, but the only thing you can judge is the evidence before
   7   you.
   8          I want to go to another instruction that talks about the
   9   circumstances, and I talked to you about that, the chains in
  10   the link -- the links in the chains, I'm sorry.
  11          Now, another instruction is very important here, and
  12   that's the state of mind, the intent, okay?          That's very
  13   important because they want you to believe that -- they want
  14   you to read Watson's mind in this case when Watson is with
  15   Brown, when Watson is in the car, when Watson is at Zeidman's.
  16   Watson doesn't say anything.       There's nothing to say that
  17   Watson said anything so they want you to read their minds.
  18   Well, this instruction talks about that.         No one can read
  19   another person's mind and tell what that person is thinking,
  20   but a defendant's state of mind can be proven indirectly from
  21   the surrounding circumstances.        So when you're looking at the
  22   Zeidman's and you're looking at him being in the car with
  23   Brown, you've got to look at are there any other corroborating
  24   facts besides what Brown says was in Watson's mind?
  25          Let's take, for instance, the Zeidman's meeting.          Remember

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1892 Filed 05/10/19 Page 61 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 61

   1   the evolution of a lie?       And I'm going to get to that, but the
   2   lie evolves to a point where we get to a meeting at Zeidman's.
   3   And the facts that you've got to remember and look at closely,
   4   I believe, is Brown and Bailey infer, they try to infer that
   5   Watson was present.      We don't know, but they say Watson was
   6   present, and Brown was offered a car, a condo and money.
   7         The conclusion was that, of Bailey and Brown at some point
   8   was Watson stood there so Watson heard and agreed.           The
   9   inference was he stood there and Watson heard and agreed, but
  10   there's no way to infer what was in Watson's mind from his just
  11   being present at an alleged meeting.         We don't have Watson's
  12   words, acts or gestures to weigh what was in his mind.             Nothing
  13   independent to show he agreed or acknowledged and agreed.            No
  14   actus reus, no mens rea, no act that we can infer his mental
  15   state.
  16         Mental state.     Words of intent are very important, and
  17   when you look through this case, for instance, Brown, when you
  18   look at Brown, there's evidence.        You can look.     Brown says the
  19   only thing that's on the mind is to kill Devin Wallace and get
  20   a car and get a condo.      That's corroboration.      That gives you
  21   an opportunity to weigh what's in Brown's mind.           You see -- and
  22   that's very important.      That's instruction 13 when you start
  23   talking about intent.
  24         Brown testified he and Watson rode together.          Well, what
  25   happened then?     What did they talk about?       Does he ever talk

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1893 Filed 05/10/19 Page 62 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                               Vol. 13/Page 62

   1   about what they talked about?        Nobody really testifies to what
   2   Watson ever really said in this case.         Nobody.    There's no
   3   words or acts that anybody can assert that Watson made.            No one
   4   has given us Watson's actual words.
   5         Another part of -- I think is very important and I told
   6   you when I first started out in this case, I think I mentioned
   7   that I didn't think demeanor was going to be that important in
   8   this case because we had professional liars.          We had con
   9   artists.    We had impersonators that could take that stand
  10   without sweating, could take that stand with a stern face and
  11   testify, but it didn't turn out to be that way and instruction
  12   number 7 that the judge may give, it talks about looking at the
  13   demeanor of the witness, and the demeanor evidence -- demeanor
  14   evidence is evidence.
  15         And you can look at that demeanor.        Look at Brown.     Look
  16   how Brown sat.     Look how Brown got vague.       Look how when I
  17   asked Brown about you said there were six, there were five and
  18   you, and I asked him and he wouldn't answer.          He became silent.
  19   Well, his silence spoke.       Six people in that -- involved,
  20   possibly four people in the car.
  21         Look at Paymond.     Paymond's demeanor was fairly good after
  22   he decided that he was going to tell the truth.           I had to turn
  23   him around a little bit.       My cross-examination sometimes were
  24   objected to, but they weren't to try to put my words in his
  25   mouth but to create a relationship.         Let's look at what Paymond

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1894 Filed 05/10/19 Page 63 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 63

   1   said.    Let's look at what Paymond gave us.
   2         Paymond was one of the Government's better witnesses.           His
   3   demeanor was fairly good after I got him to tell the truth.             He
   4   first gives us nothing.       He denies really knowing Watson.       He
   5   knows Steph and BJ.      He tells us BJ and Steph are together on
   6   9/11.    He tells us that Steph and BJ leave around 4:00 p.m.
   7   That's what the detectives really were trying to pound him in,
   8   to get into their theory that timeline.         He tells us that Steph
   9   and BJ leave around 4:00 p.m. and return afterwards.           He
  10   clearly supports the Government's theory at first.
  11         However, on cross-examination I open him up.          I stress the
  12   importance of the truth.       He begins to agree with me and
  13   appears to start telling the truth.         His demeanor is good, his
  14   eye contact.     He recalls good.     He's not vague.     He answers the
  15   questions.    And what facts did we learn?       We learned he watched
  16   the video.    We learned he saw the commission of the crime.          We
  17   learned he originally slanted the truth because he feared being
  18   charged with new crimes.       That was real.
  19         But he revealed -- he also revealed he deals with stolen
  20   goods and auto parts, which he didn't want to do that at first.
  21   He didn't want to do that too much with the interrogations of
  22   the officers because he didn't want to get charged with any new
  23   crimes.
  24         But he also gave us some of the culture that you can rely
  25   on.   He tells us -- he agreed that he knows Watson steals cars

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1895 Filed 05/10/19 Page 64 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 64

   1   and deals in stolen parts.       He's an in-between man on deals.
   2   That's his hustle.      Brown and Watson hang together a lot.        It's
   3   important because Brown tries to play down -- Brown, if you
   4   recall, tries to play down his relationship with Watson
   5   initially.
   6         We learned that the DPD maintained that Steph fired the
   7   shots from the car.      DPD is telling Paymond that's their
   8   theory.    He told us he agreed with the police that Steph had on
   9   black as he wore on 9/11 while at his house the day before.             He
  10   gives us a limited ID.
  11         He tells us four people are in the car.         He gave their
  12   description, 6'1", 6'2," the men got in the car.           Detective Eby
  13   never told you that they believed Watson was the shooter.
  14         He tells us he never saw Watson carrying a gun.          So we get
  15   a lot from Paymond.      Paymond also tells us DPD told him how
  16   they believe Brown and Chambers were involved in the murder.
  17   This begins to start that lie, that lie to evolve.           He tells us
  18   that the FBI was trying to get him to accept their scenario of
  19   the shooting.
  20         DPD told him they had cell phone results from Brown being
  21   at his house, that he could not identify the guy in the video
  22   who done the shooting.      He didn't -- he was real.       He said he
  23   couldn't identify him, but he could identify the clothing.
  24         After constant presentation of the agents and the police,
  25   he agreed it could be Brown, and that's how these facts evolve.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1896 Filed 05/10/19 Page 65 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 65

   1   He never seen Watson carrying a gun.         He never knew Watson to
   2   do hits or shoot people, and nobody ever came back and told him
   3   Watson was the shooter.
   4         So, you see, that even with Paymond the Government is
   5   beginning to push their theory.        They want to disregard the
   6   other two men in the car.       There's no real investigation going
   7   on with respect to suspect Brown, but Brown becomes one of the
   8   main suspects of DPD.
   9         See, DPD, if you remember, with Detective Mitchell, DPD
  10   did a solid investigation.       DPD had a video.     DPD got the phone
  11   records.    DPD watched the video.      Mitchell was straightforward.
  12   Mitchell talked about his crew.        They finally got Brown as a
  13   suspect.    They used him to insert his information in the
  14   affidavits, to get cell phone records, and Brown became a
  15   suspect.
  16         But Brown wasn't arrested at that point.         Brown was out
  17   there with Chambers and had an opportunity to talk about the
  18   case, look at the case, and finally Brown was named as the
  19   suspect.
  20         Well, what happened later is that the feds came in, and at
  21   some point the feds decided they were going to arrest and bring
  22   an indictment, and it was at that point that Brown decided that
  23   he could be a shooter.      That's how the lie begins to evolve.
  24         Let's go back to the instructions and talk about
  25   Count One.    Count One of the indictment charges the defendants

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1897 Filed 05/10/19 Page 66 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 66

   1   with the use of certain interstate facilities in the commission
   2   of a murder for hire.      The judge may give an instruction that
   3   you are going to have to look at these elements, and I would
   4   like to point you to element C, the third, and the reason I
   5   want to go there is because it talks about as consideration for
   6   receipt of a promise or agreement to pay anything of pecuniary
   7   value.    Also, in Count One it talks about the use of certain
   8   interstate facilities in the commission for hire.
   9         Well, the Court may instruct you that you must prove each
  10   and every element beyond a reasonable doubt, and if you look
  11   at -- I'm going to ask you to look at A when you get back
  12   there.    A is going to become important.       Did Watson use the
  13   phone?    And you are going to have to prove that Watson used the
  14   phone beyond a reasonable doubt to in some way further this
  15   theory of murder for hire.
  16         Let's refer to the most credible evidence to some extent
  17   that the Government has.       It was the phone records that first
  18   led to the discovery of Brown as the shooter.          We heard from
  19   the experts.     We heard from their opinions.       We have heard
  20   their analysis.     We have talked about the cell towers, then
  21   finally we were hit with the Government's toll records
  22   analysis.
  23         And what we know, and I'm going to go straight to the
  24   jugular on this, the Government only decided to use Belcher's
  25   phone records that led to other phone call and records to

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1898 Filed 05/10/19 Page 67 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 67

   1   support their theory, and it's based upon their circumstantial
   2   evidence that they want you to find beyond a reasonable doubt
   3   my client used a telephone to commit this murder.
   4         So I'm going to refer you to Government's Exhibit 16A, and
   5   when you get back in the back, you will be able to review this
   6   exhibit, and as you will see, I'm going to point you to
   7   Andre Watson at 978-3909.       That shows one incoming call and one
   8   outgoing call.     Now, this is on September 11th at the scene of
   9   the crime between 4:38 p.m. to 5:15 p.m., and in those records
  10   it will show you a timeline on these calls.          And when you look
  11   at these facts, you will see that Watson's phone did not get
  12   busy until -- remember what Brown said.         Brown said -- and
  13   again, that message is the link in the chain of the
  14   Government's theory because up until -- these phone records
  15   they rely heavily on.      The phone records are probably some of
  16   the most credible evidence the Government has, and that's what
  17   they base their theory on.
  18         As you know, there weren't requests made to get phone
  19   records for a lot of other times that might have been relevant.
  20   However, dealing with this, we have got Andre Watson.            Well,
  21   this was fine until their witness gets on the stand and says,
  22   oh, I used Andre Watson's phone at that time.          If you recall,
  23   at 4:51 Watson's phone called Belcher.         It will show that, but
  24   Brown says he gave the phone to Watson.         Brown says, I plugged
  25   my phone in to charge it, and I used Watson's phone and I

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1899 Filed 05/10/19 Page 68 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 68

   1   called Belcher.
   2         Now, as brother counsel said, we don't know what the
   3   nature of those calls are.       We know that there's another
   4   exhibit of Mr. -- I think it's my exhibit, Watson's Exhibit
   5   Number 1, that talks about other phones that were used with
   6   Belcher's number.      Well, we know that Watson had a relationship
   7   with Belcher.     We know that Watson had called Belcher on other
   8   occasions.    So -- but Watson wasn't calling everybody around
   9   the time of the incident.       Brown was.    Brown was, and I'm going
  10   to point that out to you.       Brown was making the calls to
  11   everybody, and the phone records are going to show that.
  12         What was Watson's purpose in calling Brown?          If Watson in
  13   fact did call -- I mean, call Belcher -- what was it for?             It
  14   could have been for anything.        The first call Andre Watson
  15   is -- it's an incoming call, and then Belcher has an outgoing
  16   call.    In looking at these records, there is really no pattern
  17   in the calls to suggest Watson was planning or participating in
  18   a plan to execute Wallace at the time he was shot.
  19         Belcher, by this, calls back, but that could be for any
  20   reason.    That could be because a call came in to him.          He
  21   talked to Brown, and he returned that call.          That doesn't
  22   necessarily mean that that's the only explanation for that call
  23   and that that call was related to the homicide.           It's also
  24   reasonable to conclude that Belcher called back because he had
  25   just talked to Brown on the phone.        So when you look at that

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1900 Filed 05/10/19 Page 69 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 69

   1   instruction, weigh that evidence heavily, on whether or not he
   2   used the phone to in fact facilitate the homicide.
   3         When you look further into that instruction, it's
   4   important to look at, as I said, C and 7 on Page 18.           7 talks
   5   about:
   6         The Government must prove a quid pro quo between the
   7   person who solicits the murder and the person who would commit
   8   the murder.     In other words, it requires a mutual understanding
   9   that something of value will be exchanged for committing a
  10   murder.    You may find the defendant guilty regardless of
  11   whether the payment occurred or was to occur in the future.
  12         B, and I'm going to tie it together, B says that:
  13         The defendant did so with the intent that a murder be
  14   committed under violation of a Michigan law.
  15         So we really don't have any evidence of Watson's intent.
  16   What we do know is intent must be shown by words and actions.
  17   So if you look at what Brown did, Brown testified that Chambers
  18   covered up the plate.      Brown said he got out, looked at the
  19   plate, and made sure it was covered.         Brown went into -- Brown
  20   went in and bought the gloves.        Brown claims he fired his gun
  21   at Wallace and he intended to kill Wallace.          Brown testified
  22   that Mr. Chambers pulled off when the bus moved.           Brown used
  23   Watson's phone just before the murder.         Brown agreed to accept
  24   money, condo and car to kill Wallace.         Brown said his purpose
  25   was to kill Wallace.      Brown asked Bailey for locations of

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1901 Filed 05/10/19 Page 70 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 70

   1   Wallace.    Brown was in communication with Bailey on an unknown
   2   phone.
   3         There's no testimony to corroborate independently of the
   4   lies of Brown or the other con artists or the thieves or the
   5   other professional liars that Watson was involved at that time.
   6   We don't have any acts that we can attribute to Mr. Watson
   7   other than their lies that he shot and things of that sort.
   8         The quid pro quo?     That brings us to looking at what
   9   really happened at Zeidman's.        Brown tells us a lot about
  10   Zeidman's on cross-examination.        Mr. Brown agreed he never saw
  11   Watson get any of the money or property offered at Zeidman's.
  12   Brown agreed he never heard Watson accept $2,000 for the
  13   killing of Wallace.      Brown agreed he never heard Watson accept
  14   15,000 for the Wallace killing.        Brown agreed he never heard
  15   Watson agree to kill anybody for any amount of money at that
  16   time.    Brown agreed he never heard Watson tell Bailey that
  17   Watson would get involved and kill Wallace because Wallace was
  18   getting in the way of Byrd or Gino's drug business.
  19         That's important.     That's going to be important when it
  20   comes to looking at the conspiracy count and the
  21   drug-trafficking count.       Brown agreed he didn't know of
  22   Watson's contacting Belcher after the beating.
  23         What did Bailey testify to about the Zeidman's killing?
  24   And this goes to quid pro quo and things of that sort.            Bailey
  25   testified Brown walked up to the car window.          Brown talked to

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1902 Filed 05/10/19 Page 71 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 71

   1   Belcher, as brother counsel said.        That was supposed to be
   2   about marijuana, but what would Watson know?          Watson was in his
   3   car with a girl, but Brown, Brown didn't want to really testify
   4   to that.    He was untruthful.     We had other evidence that came
   5   in that said Brown was with a girl -- I mean, Watson was with a
   6   girl.
   7         Brown is discussing marijuana with Belcher.          Bailey agreed
   8   Watson never got out of the car and approached him at
   9   Zeidman's.    These are acts that never happened.         There's
  10   nothing to infer from Watson's conduct at that time other than
  11   the fact that he was present.
  12         Bailey agreed that Watson didn't get out of the car and
  13   talk to him about killing Wallace.        Watson didn't get out of
  14   the car, and Bailey never offered him 15,000 to kill Wallace.
  15   Bailey agreed he did not promise Mr. Watson payment of any sort
  16   for killing Mr. Wallace.       Bailey said we never discussed it
  17   ever.
  18         These are words.     These are the kind of corroborating
  19   facts that you can use that are independent of what somebody is
  20   trying to get you to infer.
  21         Remember, the claim is Bailey also wanted Wallace killed,
  22   but Bailey makes it unequivocally clear there was no
  23   discussions in the presence -- in his presence with Watson to
  24   kill.
  25         Brown attempts to inject Watson's mental state and intent

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1903 Filed 05/10/19 Page 72 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 72

   1   by asserting Watson agreed with him to kill.          That's what Brown
   2   does throughout the case.       Brown begins to put Watson with him
   3   because around March 8th when the indictment came down Brown
   4   learned that he was facing death.        Brown learned that he could
   5   no longer be the shooter.       Brown knew that he had to make
   6   someone else the shooter.
   7         There's no evidence Watson agreed with any solicitors.
   8   Who was soliciting?      They maintain it was Belcher and Bailey.
   9   There's nothing to suggest that Watson ever spoke with
  10   Mr. Belcher throughout this case about killing anyone.
  11         There's no evidence independent of what Brown, BJ and
  12   Bailey are saying Watson did.        All we have is the testimony of
  13   the liars, the cheaters and so on.
  14         Brown tells Chambers at the detention center that he wants
  15   to get his money, 15,000, a car and a condo.          He wants his
  16   money for the deal that he made for the killing that he, he had
  17   done.    Brown tells Chambers Watson was offered the same thing.
  18   Here again, we have got Brown telling Chambers that Watson was
  19   offered the same thing, but we have those facts before us.
  20         You have to use your common sense in these instances.
  21   Have you ever stood next to someone?         One person is making a
  22   representation, you are standing there, and you are like I'm
  23   not agreeing with what he's saying.         I'm not with that.     That's
  24   the kind of common sense that we have to look at here.
  25         Brown told Chambers I hope my cousin don't play me because

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1904 Filed 05/10/19 Page 73 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 73

   1   if he do I'm going to kill him too.         This is when he's talking
   2   about getting his payment.       But you don't have any, any words
   3   or acts that you could infer that type of intent with Watson.
   4         Brown and Bailey even agree that Brown was offered a car,
   5   money and condo to kill Wallace.        This is all in the evidence.
   6   This is what's before you.       This is what you take back and
   7   apply to these instructions.
   8         There's no facts that Watson tried to reach a mutual
   9   understanding about what he would do or what he would receive
  10   for killing Wallace.      Where do we get those facts?       Where do we
  11   get the facts that Watson said anything out there?
  12         When Brown said he went to the Family Dollar, Brown said I
  13   went in and purchased gloves.        That's different than a lot of
  14   evidence we heard on the Family Dollar.         We know Brown said
  15   earlier in other statements he didn't even go to a Family
  16   Dollar.
  17         And Brown says he bought gloves, not any other items.
  18   Brown then says -- he changes.        He says, well, that was
  19   something else.
  20         Watson never spoke any words while allegedly standing near
  21   Bailey, Brown or Belcher while in discussion of any plan.            The
  22   only facts we have that Watson received anything are based on
  23   Brown and Bailey's statements.        Brown pled.    He was made an
  24   offer.    He pled it in his plea agreement, though at first he
  25   tried to deny it.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1905 Filed 05/10/19 Page 74 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 74

   1         He pled.    He was made an offer.      Not him and Watson.
   2   Watson stood near.      Those are the facts.
   3         Brown and Chambers testified that Brown went looking for
   4   Belcher and Bailey for payment.        Brown told us he was armed
   5   with a chopper, an AK, and in the car with Chambers.           Brown and
   6   Chambers again.
   7         Brown says when he pulls up, "Damn, man, shit, what's up
   8   with that money?"      Those are words spoken.      You can take those
   9   to the bank.     Those are real facts.
  10         "I told Chambers to pull in front of Belcher's car."
  11   Those are the kind of facts you plug in.
  12         Brown gave Chambers the chopper.        And I asked him, "You
  13   were trying to put somebody in fear?"         He didn't, didn't say he
  14   had the .40 caliber that he allegedly had.          He's got a chopper.
  15         Brown tells Chambers in the detention center -- see, these
  16   go to number 7, pecuniary, what were you getting?           Receipt,
  17   payment.
  18         Brown tells Chambers in the detention center that he's
  19   going to give him a couple of dollars.         We further learn Brown
  20   called Bailey.     Bailey said, "I've got 1600 for you."         Brown
  21   tells Bailey he has a tether.        That's what Brown tells us, he's
  22   on a tether.     Brown says he sent Watson.      What do we have to
  23   support that?     What do we have to corroborate that fact other
  24   than a liar?     You saw his demeanor.      He lied when he wanted to.
  25         So then Brown says he sent Watson.        Did Watson go?     Do we

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1906 Filed 05/10/19 Page 75 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 75

   1   have any evidence that Watson ever went to the casino?            Do we
   2   have any videos?     Is there any other corroborating facts that
   3   that occurred?
   4         And if Watson did go, do we know that Watson even knew
   5   what he was receiving money for?        It's just we don't have
   6   anything there but Brown's words.
   7         Bailey says he gave Watson $2,000.        So these lies are
   8   inconsistent, and my argument is they are made to just tie
   9   Watson into the conspiracy to kill and to establish he received
  10   proceeds for his part in the killing.
  11         Bailey says when he saw Watson at the casino we did not
  12   talk.    He just handed Watson the money, and he left.         Bailey
  13   paid that money to Watson allegedly because he wanted to get
  14   Brown paid something, he says, because Brown was looking for
  15   his money.
  16         When you go down and you look at the rest of Count One of
  17   the indictment, you will be able to consider the intent that we
  18   talked about.
  19         And, as you go into Count Two of the indictment, Count Two
  20   is talking about conspiracy to distribute controlled
  21   substances.     I think that this is going to be a little bit more
  22   easier for you to deal with at the beginning, but it gets
  23   complicated at the end, and we believe that there's no, no
  24   criminal partnership whatsoever with Belcher and Bailey in the
  25   drug conspiracy, and you will be able to look at that and I'm

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1907 Filed 05/10/19 Page 76 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 76

   1   going to move quickly through that.
   2         There's no testimony that Mr. Watson distributed or sold
   3   cocaine, Oxycontin or any other drugs, and you can go down and
   4   look at whether or not there was an agreement with anyone.            Of
   5   course there's no evidence of that, no evidence he ever joined
   6   a conspiracy.
   7         And the instructions that the judge may give you can plug
   8   in the facts, as we have been doing.         Bailey testified that
   9   Watson never accompanied him or Belcher on any runs or anything
  10   of that sort.     You've got to look at who did he conspire with,
  11   and I think these instructions, you know, you have to look at
  12   the facts.    There's nothing to suggest that he was ever present
  13   packaging, delivering, anything that shows that he acted in
  14   furtherance of the conspiracy.        More importantly, there's no
  15   facts that he was present and associated with Belcher, that he
  16   agreed to work for Belcher or sell drugs for Belcher.
  17         And there's another issue that the Government is going to
  18   really attempt to ride on, and that is enforcer.           And the
  19   enforcer first came up based on my cross-examination, and I
  20   cross-examined because I had no fear there.          I wanted you to
  21   know how the lie had evolved.        See, the enforcer came in later,
  22   recent.    That's one of the most recent fabrications.         That's
  23   how far the lie evolved.
  24         So now we had enforcer, and you've got to look at that
  25   evidence.    You've got to look at Brown trying to, to hint that,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1908 Filed 05/10/19 Page 77 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 77

   1   that he saw Watson standing on the porch on Beniteau.            Well, if
   2   you look at these instructions, and one of the main
   3   instructions is going to be in one, two, three, part four of
   4   that instruction.
   5          One more point about the agreement.       The indictment
   6   accuses the defendants of conspiring to commit several drug
   7   crimes.    The Government must prove an agreement to commit at
   8   least one of them.
   9          And then if you look at 4 of Part C:        But proof that a
  10   defendant simply knew about a conspiracy or was present at
  11   times or associated with members of the group is not enough.
  12          You see, Brown tries to say at one point he saw Watson
  13   standing on a porch with a gun hanging off of him.           The
  14   testimony was so bad.      Hanging off from where?      I mean, hanging
  15   off from where?     You've got to look at that.       I mean, it speaks
  16   for itself.
  17          It's not enough to put him there.       He's trying to, what,
  18   make him an enforcer?      Look, use your common sense.       We know
  19   what enforcers do.      Enforcers don't go around killing the
  20   people that owe the debt.       They go around threatening.        They go
  21   around collecting.      They go around trying to get payment for
  22   the debt.    There's no evidence.      There's not one incident.
  23          Aday didn't know him.     Mr. Belcher's woman didn't know
  24   him.   Nobody's seen him.      No evidence that he approached
  25   anybody to collect a debt.       No evidence that he worked with

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1909 Filed 05/10/19 Page 78 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 78

   1   anybody, Brown, as an enforcer.
   2         So look and see closely what the Government attempts to do
   3   in this case.     They can't give you anything else that ties him
   4   to a drug conspiracy, and the fact that he was at somebody's
   5   house, the fact that he was seen, the fact that he even knew
   6   Belcher sold drugs, the fact that he knew Belcher sold drugs
   7   and other things is not enough to make him a part of the
   8   conspiracy.
   9         Read that closely.      It's big on association.      Even if he
  10   approved of what was happening, that's not enough.           Even if he
  11   had done something that he didn't even know that he helped,
  12   it's not enough.
  13         You've got to look at the drug-trafficking count with this
  14   conspiracy to sell drugs because that's where they are
  15   trying -- you are not going to find any evidence of the drug
  16   conspiracy, but what happens is they are trying to connect it
  17   to the drug trafficking, the use of a firearm, the homicide.
  18   That's what they are trying to do, and there's no testimony
  19   Watson knew the murder was going to happen.          They want to place
  20   him in the car.     All we have is the conflicting evidence, no
  21   independent corroborating facts to support any circumstances.
  22         And, again, you are going to have to look at the intent.
  23   Brown says me and Chambers pulled off after the bus pulled off.
  24   Look at those facts.      I talked to you about what Brown and
  25   Chambers did, and look at how the lie evolved.          Just 30 days

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1910 Filed 05/10/19 Page 79 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 79

   1   before this trial we get a new statement from the Government
   2   and the agents that says Brown and Chambers took the vehicle
   3   13 days after the killing, washed it down with bleach to hide
   4   the evidence, and they found a slug, a shell casing in the car.
   5         How convenient.     How self-serving.      I'll bet you it was a
   6   .40 caliber, right?      That shows the evolution of the lie.        That
   7   shows you how still -- their incentive to lie to try to better
   8   their deal.
   9         Remember, they violated -- that shows -- these recent lies
  10   show that they violated every agreement that they ever entered
  11   into.    The Kastigar agreement, I questioned him on that.
  12   Kastigar says tell everything.        The plea agreements.     The
  13   cooperation agreements.       They are liars, they are cheaters, and
  14   they violated every, every promise that they made to the
  15   Government, and the Government --
  16               THE COURT:    Mr. Johnson, you have five minutes.
  17               MR. JOHNSON:    That quick?
  18               THE COURT:    Five minutes.
  19               MR. JOHNSON:    Oh, Lord.    Okay.   Judge, I'm going to
  20   need more time.
  21         All right.    Ladies and gentlemen, look at the indictment.
  22   I believe the indictment is part of the evolution of the lie.
  23   They couldn't make this case, they couldn't make this case so
  24   they brought a superseding indictment.         Look at that closely.
  25   Look at that closely.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1911 Filed 05/10/19 Page 80 of 98


                             Defendant Watson's Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 80

   1         And what I want to say to you is that when you go back and
   2   decide this case, look at the facts.         I need you to carry the
   3   ball in this case.      Don't be intimidated by anybody else, their
   4   education, their status or anything of that sort, but I need
   5   each and every one of you all to hold the line.           If you believe
   6   after you hear this evidence, if you believe that there's not
   7   sufficient evidence, then I need you to hold the line.
   8         That means, when you get back there and you talk about
   9   this case and you deliberate and you objective and you go over
  10   it, if you believe in your mind as an individual that my client
  11   is not guilty, I need you to hold the line.          If you have to
  12   come back out and be instructed by that judge again, if you,
  13   you go back, you discuss this case again with an open mind, but
  14   if you believe that the Government has not proved each and
  15   every element on each one of these counts beyond a reasonable
  16   doubt, then I need you, each and every one of you all, to hold
  17   the line.
  18         My client deserves to go home.        I believe that if you look
  19   at the evidence squarely that you can enter a verdict of not
  20   guilty.    I believe that the evidence will show that the
  21   government has not met its burden.
  22         Thank you.    I'm out of time.
  23               THE COURT:    Thank you, sir.
  24         Mr. Cralle.
  25                                                               (12:37 p.m.)

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1912 Filed 05/10/19 Page 81 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 81

   1               MR. HAUGABOOK:     Ladies and gentlemen, the Government
   2   agrees.    You should not convict unless you find them guilty
   3   beyond a reasonable doubt, but in this case there is no doubt.
   4         I want to start first with Mr. Shea, and one of the things
   5   that he said, brother counsel, Mr. Shea, he said during that
   6   week there were no phone calls.        Well, I want to call your
   7   attention to Exhibit 16.2.       It should be on the screen here.
   8         And if you look at Exhibit 16.2, it shows that during that
   9   week there were phone calls between Belcher and all of the
  10   people involved.     Between the week of the murder he said that
  11   there was no calls there.       There were calls in that week.       It's
  12   right there, Exhibit 16.2.
  13         You know, it's really interesting that the first thing
  14   they want to say is that these guys were liars, they were
  15   cheaters, they were this.       But think about it.     Wasn't that the
  16   thing that made them so vital to this whole situation, right?
  17         Because, with regards to Mr. Brown, when his cousin is
  18   sitting there with DPD, the first thing he throws out, he
  19   throws him under the bus.       Don't hang with him, he a thief,
  20   steals ATMs and what not, all right?         But he was still the
  21   person that he called and talked to and had that conversation
  22   at the Zeidman's about committing this murder.
  23         If you want to do this, you want to have it in house, you
  24   want to have somebody close to you.         You don't go to the door
  25   of a seminary and say, hey, can I get a student out here, I

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1913 Filed 05/10/19 Page 82 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 82

   1   need to use you, I want you to go take this hit for me on
   2   somebody who is messing with my money, all right?
   3         You want somebody who has been involved, who has a
   4   criminal record, who has a criminal past, who is susceptible to
   5   doing this, and especially if it's your cousin because you feel
   6   like with your cousin, they are in-house, they are somebody you
   7   can trust.
   8         And what do we know?      Out there on the scene, who was out
   9   there that was related to him?        His cousin Bailey and then his
  10   cousin Brown, who pulls up with Chambers and Watson in the
  11   backseat.    All right?    Those are connections to him.
  12         So you can't say -- you can't have it both ways.           You
  13   can't say, oh, they have felony records and what not.            That's
  14   what made them vital.      You want to say Bailey is a fraudster.
  15   That's what made him vital in the car fraud scheme because he
  16   knew how to hook that up.       That's why you needed him in the car
  17   fraud scheme.
  18         You heard him in the video with Detective Mitchell talk
  19   about Cuz being able to hook your credit up, fix your credit up
  20   stuff.    Oh, but now you want to come in and say they are no
  21   good, they have felonies, they are this.         Well, that's why you
  22   needed them from the get-go.       You weren't complaining then,
  23   right?
  24         At the meeting at Zeidman's, you're not complaining then:
  25   You know, Cuz, I can't use you, you've got a felony.           You know,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1914 Filed 05/10/19 Page 83 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 83

   1   Bailey, I can't go for this because, you know, you in that
   2   fraud stuff.     It doesn't make sense.
   3         Yeah, I agree with brother counsel.        When you go back
   4   there, you don't check your reason and common sense at the
   5   door.    You take that same reason and common sense that you were
   6   born with, that you walked in this courtroom three weeks ago
   7   with, and you use that in making your decision in this case.
   8         You know, they want to talk about witnesses saying things
   9   at different times and things of that nature, and I believe
  10   this Court is going to give you an instruction that sometimes a
  11   witness will see and hear things differently, and that doesn't
  12   mean that they are lying or mistaken.
  13         For example, I just threw up some coins and they landed.
  14   Some of you will say, Mr. Haugabook threw up some quarters and
  15   they landed on the floor.       Some of you will say Mr. Haugabook
  16   threw up some quarters and some pennies and dimes, and they
  17   landed on the floor.      Some of you will simply say Mr. Haugabook
  18   threw up some change and it landed on the floor.           But, is there
  19   any doubt that each of you are right?         Sometimes witnesses will
  20   see and hear things differently, but that doesn't mean that
  21   they are incorrect.
  22         The next thing, when you're going out and you're
  23   committing this murder -- I don't know if you have ever seen
  24   Jimmy Kimmell, but sometimes he does this little skit "Dear
  25   Diary," all right?      That's the last thing you're trying to do

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1915 Filed 05/10/19 Page 84 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 84

   1   when you go out and commit a murder.         I'm going to write down
   2   that on this day I talked to this person at this time and what
   3   not.   It just doesn't work like that.
   4          What we had here was the simple fact that everything was
   5   able to be discovered because they made a mistake.           The mistake
   6   was they committed this murder on video, and the mistake was
   7   they carried these with them because everybody in this day and
   8   age knows that when you walk around with your cell phone, as
   9   I'm holding up my cell phone, your cell phone can tell on you.
  10   Your cell phone can tell where you are, where you have been,
  11   who you have been calling, what location you are in.           That's
  12   how this was put together.
  13          A tip led them to Brown.      They started working up Brown's
  14   cell phone evidence.      They immediately brought Mr. Belcher back
  15   in, and they started reinterviewing him.
  16          And what did he do?     He started lying.     Don't know Brown,
  17   don't talk to him, don't deal with him, you know, and one of
  18   the things they want to say is that, well, you know, Mr. Shea
  19   said, well, you know, the fact that this was a block from his
  20   house and, you know, he had his child, are these things
  21   consistent with a murderer?
  22          Well, when you're sitting down with homicide and you are
  23   being asked about why are you having contact with somebody that
  24   we believe is involved in a homicide and you start lying, is
  25   that consistent with somebody who isn't involved or is that

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1916 Filed 05/10/19 Page 85 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 85

   1   more consistent with somebody who is?         And that's what we have
   2   here, somebody who was lying because they were involved with
   3   the person and in the scheme.        That's what we have here.
   4         So he was being investigated by homicide, Mr. Belcher, and
   5   he's being questioned about being in contact, and the first
   6   thing he does is he starts telling different lies and stories.
   7   He says that the sole reason was because, and I submit to you,
   8   the sole reason was because it would unearth the entire
   9   murder-for-hire scheme.       So that's why he doesn't know Brown.
  10   He wants to attribute that number to Block.          He wants to say
  11   that he doesn't hang with his cousin.         He wants to say that his
  12   cousin is still in jail.       Those were all of the reasons that
  13   he's trying to do that because he's trying to distance himself
  14   and hope that nobody uncovers his connection and unravels the
  15   entire murder-for-hire scheme.
  16         I heard brother counsel say there's lots of reasons to
  17   talk to each other and lots of it was illegal, brother counsel,
  18   Mr. Shea.    Yes, I agree with him, and the main illegal reason
  19   was that murder for hire, that murder for hire to kill Wallace.
  20         He wants to talk about that jail call where Ms. Banks
  21   calls in, and he talks about there's a portion, oh, we know you
  22   didn't do that or what have you.        She and Belcher were playing
  23   a role.    As you know, Mr. Belcher is good at playing a role
  24   because he showed up at the scene at the end of the murder and
  25   immediately started playing the role of, you know, this was due

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1917 Filed 05/10/19 Page 86 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 86

   1   to snitching and all of this kind of stuff.          He and Bailey, all
   2   right, they played a role there.
   3         But the problem is, what happened is these guys made a
   4   mistake:    They had their cell phones with them.         Their cell
   5   phones corroborates their information.         It corroborates
   6   Chambers, it corroborates Brown, and it corroborates them when
   7   they say that Watson was there.
   8         And what do we know?      Bailey said that Belcher told him
   9   afterwards that it was indeed Watson.         So it corroborates
  10   Belcher as well for telling that to Bailey, and we know that
  11   Mr. Belcher was there because he's on the video.
  12         Now, brother counsel wants to -- all of this stuff
  13   about -- brother counsel for Mr. Belcher put in exhibits of
  14   lots of contacts with Brown, but, okay, well and good, but when
  15   it came -- push came to shove and you're sitting down with
  16   Detective Mitchell, his client wasn't putting in contacts
  17   with Brown.     That's the last person he was having contacts
  18   with.    The last person he knew, the last person he was having
  19   contact with was Brown, didn't even know his last name, his
  20   cousin, Facebook friend, don't know his last name.           But that's
  21   what happens when you prevaricate, obfuscate and deviate from
  22   the truth, as Mr. Belcher did.
  23         What do we know?     Mr. Belcher couldn't keep his lies
  24   straight because the video evidence belies that.           He exited the
  25   Camaro while talking to Brown, two calls, 10 and 95 seconds.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1918 Filed 05/10/19 Page 87 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 87

   1          He wants to talk about an 80-second call with Bailey.
   2   Bailey told you that was, and you all have heard this phrase,
   3   that's a butt call because Bailey, standing there on the other
   4   side of the car, you never once see Bailey put anything to his
   5   ear.   So that's a butt call.      That's an open call.
   6          What do we know?    All five of these individuals lied in
   7   the beginning.     Yes, they did.     But three of the five knew they
   8   couldn't deviate from the facts that we have put before you
   9   that shows their guilt, that also corroborates their testimony
  10   here, and that's the cell phone evidence.          They could not get
  11   away from that, and three of the five have pled guilty to
  12   murder for hire and agreed to testify before you and their deal
  13   requires them to testify truthfully.
  14          And you heard from Agent Rienerth.       The reason why a lot
  15   of things differ from statement to statement is because people
  16   start remembering things later and more as it goes along.            So
  17   at every interview somebody will come along and remember.
  18          Like, for example, when I threw those coins down, like I
  19   said, if we go back to that, some of you will say what I said
  20   you will say, that I just threw coins down, and some will be
  21   more specific.     But if you were asked and told ahead of time
  22   I'm going to throw coins down, I need you to remember, maybe
  23   everybody would do a better job of remembering.
  24          But that's not how a murder works.       You don't say we're
  25   going to commit this murder but I need everybody to remember,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1919 Filed 05/10/19 Page 88 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 88

   1   you know, Step A, Step B, Step C, all the way to E, Z, F1, F2,
   2   all of those things.      That's not how it works.      Use your reason
   3   and common sense, ladies and gentlemen.
   4         They want to talk about the Pantheon attempt on
   5   August 25th.     Well, I'll get to that in a moment.
   6         So what do we know here?       They want to talk about whose
   7   phones are being called.       The first thing we know is when those
   8   shooters are in the area whose phones are they calling?            They
   9   are not calling Bailey's.       They are calling Belcher's because
  10   he's the money man.      He's putting out the money for this.        They
  11   are calling Belcher's phone, and as I had 16.7 on the board, it
  12   goes to show that.      It goes to show that.
  13         Mr. Belcher's lawyer, Mr. Shea, says that, you know, Brown
  14   couldn't keep things right, but as I indicated -- couldn't keep
  15   things straight, but as I indicated, just like with the coin
  16   situation, everybody is going to remember things differently.
  17   As a matter of fact, when he was even trying to tell you about
  18   what Mr. Brown could or could not remember, he couldn't even
  19   remember the day that Mr. Brown testified because the first
  20   thing he said was days blend together, I can't remember when he
  21   testified.    So he wants to challenge other witnesses because
  22   they can't remember or they remember things differently?
  23         He wants to talk about the voice over the phone, whether
  24   that was before going to Zeidman's or after going to Zeidman's.
  25   It doesn't matter.      It doesn't matter because what that is

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1920 Filed 05/10/19 Page 89 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 89

   1   saying is that the meeting happened and the statement was made
   2   and the statement was made in the presence of Belcher and
   3   Watson was there.
   4         Brother counsel for Watson wants to talk about the fact
   5   that, you know, Watson never said these words of acceptance or
   6   anything like that.      Well, I believe this Court is going to
   7   tell you that with regard to a particular person in this case
   8   you can determine their intent by what they did, what they
   9   said, how they said it, how they did it or any other facts or
  10   circumstances that come into evidence.
  11         When they are standing there with Brown and they are being
  12   offered this opportunity for money, a condo and a car to go do
  13   it, he goes out with Brown and he starts hunting.           He goes out
  14   with Brown on September 11th.        His phone is there even though
  15   he tells Agent Rienerth ain't been there, nope, ain't been
  16   there, I don't even know Brown, I don't even know Chambers, I
  17   don't even know a Byrd.       All of those things were belied by the
  18   contacts in his phone.
  19         And what do we know?      Bailey paid money that filtered to
  20   Brown through Watson.      So why is he picking up money?        Why did
  21   he take the $10,000 that Brown said Bailey said he gave to
  22   Belcher and that Brown never got?        Because, as you know, that's
  23   what ticked Brown off.      Brown got tired of the runaround of not
  24   getting his cut, and that's why he went hunting for them.            So
  25   whether he said the words of acceptance or not, what he did,

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1921 Filed 05/10/19 Page 90 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 90

   1   those are critical for you to understand that he was part of
   2   the deal, his actions, what he did, how he did it, when he did
   3   it.
   4         Brother counsel says the only person that says there was a
   5   motive was Bailey.      That's not true.     Banks told you.     Banks
   6   told you that Belcher said he was greedy and had to go.
   7         There's a phone call, there's a phone call from Bailey to
   8   Brown that took place because Belcher was not answering about
   9   Motor City.     So when you look at that, look at that as part of
  10   the reason of some of the calls between Bailey and Brown.
  11         Bailey did ask other people to kill Wallace.          Ms. Banks
  12   told us that.     She also told us that Bailey asked Belcher to do
  13   it -- asked Belcher if he did it and Belcher confessed that he
  14   had to go.    Bailey was not the only one to reveal the motive.
  15   Banks told you, and that was through the words of Belcher.
  16         How interesting, ladies and gentlemen, that the lie given
  17   by Bailey that Wallace was a snitch just happens to be the same
  18   one that Belcher tells police at the scene.
  19         Remember, Bailey had no deal when he spilled his guts to
  20   Sean Jackson.     Regardless of whether Bailey feels like he
  21   should do time, as brother counsel is arguing, you have heard
  22   that he will serve 25 years for his involvement in this crime.
  23   Counsel suggested Brown and Belcher did not call one another,
  24   but as I told you, that's been pointed out to be untrue.
  25         With regard to, with regard to what brother counsel for

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1922 Filed 05/10/19 Page 91 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 91

   1   Mr. Watson just argued, let me leave you with this.           He says
   2   that there was a lack of evidence, but, ladies and gentlemen,
   3   the testimony is evidence, the Court is going to tell you that,
   4   and the exhibits are evidence and the exhibits support the
   5   testimony of the witnesses.
   6         We don't need a gun.      Wallace, was there any dispute that
   7   Wallace died from a gunshot wound?        Is there any dispute?      I
   8   don't think so.     Circumstantial evidence is enough to convict
   9   by itself, ladies and gentlemen, but this is not just a case
  10   built on circumstantial evidence.        Brown testified, Bailey
  11   testified, Chambers testified.        There's video of the shooting.
  12   There's cell site analysis and exhibits that support the
  13   testimony of these witnesses.        This, ladies and gentlemen, is
  14   direct evidence.
  15         So, brother counsel for Mr. Watson said that, again, going
  16   back to the no words or acts, we know that he agreed when he
  17   shot Wallace, we know that he agreed when he tried and did
  18   collect money, we know that he agreed when he went to Motor
  19   City and picked up the money.
  20         He wants to talk about Brown saying five people as opposed
  21   to six, but Brown clarified that as a misstatement, and then he
  22   counted off with me, if you remember, the five people.            He said
  23   it was Brown, himself, Chambers, Bailey, Watson and Belcher.
  24         Chambers, you know, he wants to talk about payment and
  25   what happened on that day, but remember, Chambers said that was

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1923 Filed 05/10/19 Page 92 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 92

   1   a different day when they were there and Mr. Brown had on the
   2   black.    And brother counsel in his own statement said, in
   3   arguing to you, he just said the same thing he said with
   4   respect to Brown, he was wearing black and, in defense
   5   counsel's words, the day before.        So that is consistent with
   6   what Mr. Bailey said.
   7          Counsel said Watson had a relationship with Belcher.          Yes,
   8   enforcer, but Watson said he didn't know Byrd despite having
   9   two numbers for Byrd.
  10          You will find that for Count One the instruction says that
  11   a person used or caused another to use a phone, and as you
  12   know, a phone was flying back and forth between Watson and
  13   Brown, all right?      So Watson was letting Brown use his phone.
  14   Brown was using the phone.       Brown was using his own phone until
  15   he had to put it on the charger.        The bottom line, they were in
  16   the area being set up, ready to commit the murder based on the
  17   information they got from Belcher in the earlier calls from
  18   Belcher as he pulled up to the scene.
  19          Brown told you that he and Watson talked to Belcher and
  20   that they passed the phone back and forth, but independent of
  21   that, Watson caused Brown to call when he handed him the phone
  22   for the purpose of calling Belcher.
  23          Brother Counsel says there was no quid pro quo.         There
  24   was.   Watson was picking up money from Bailey because of
  25   Brown's inability -- Watson was getting the $10,000 Bailey gave

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1924 Filed 05/10/19 Page 93 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 93

   1   to Belcher and not giving it away to Brown, and this prompted
   2   Brown to knock Bailey and Belcher down because of getting the
   3   runaround.
   4         So let's talk about Brown said that by July he knew no one
   5   was facing death.      Remember that.    Brother counsel brought that
   6   up.   Brown admitted his involvement in firing the gun and he
   7   took a plea to murder for hire, and yes, he took a plea deal
   8   that requires him to testify truthfully before you and do
   9   20 years.    And his testimony, I submit, was supported by the
  10   evidence, that being the cell sites, that being the corporate
  11   cases.
  12         But, remember, Watson was so worried about Chambers that
  13   he had him sign that affidavit, which doesn't fly with anything
  14   Paymond came in and told you, and it makes up stuff about
  15   Paymond having a dispute with Watson and it makes up stuff
  16   about Brown having a dispute with Watson, and you heard that
  17   none of that was true.      You haven't heard anybody say that
  18   those things were true, I should say.
  19         He wants to say nobody knew Watson.        Well, not everybody
  20   in the conspiracy needs to know one another, and I suspect the
  21   Court will tell you that.       But Belcher knew Watson and knew him
  22   to be his enforcer.      Belcher gave him the $10,000, which sent
  23   Brown hunting.
  24         The last thing I want to bring out for you is what do we
  25   know that is consistent with all of this evidence?           Let's talk

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1925 Filed 05/10/19 Page 94 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 94

   1   about the drug dealing.
   2          Deaunta Belcher, drug dealer.      You heard him say that.
   3   You heard other people say that.        Darnell Bailey said that they
   4   were -- that he was a drug dealer and that they had the drug
   5   scheme interwoven with the fraud scheme.         Check that off.
   6          Franklin Aday said Belcher was a drug dealer.         Check that
   7   off.
   8          Latasia Banks said she was a drug dealer with Belcher.
   9   Check that off.
  10          Stephen Brown said that Belcher was his drug dealer
  11   because he got marijuana from him.        Check that off.
  12          And the cell phone extraction showing drug proceeds, you
  13   can check that off, showing drug communications and things of
  14   that nature.
  15          The car fraud scheme.     Deaunta Belcher told police about
  16   it and being involved in it.       Darnell Bailey told you about the
  17   car fraud scheme.      Latasia Banks told you about it.
  18          Now, there was some, there was some talk about -- by
  19   brother counsel for Mr. Belcher that drug dealing does not
  20   equate to being a murderer.       Well, let's explore that.
  21          The whole point of drug dealing is to make money.          That's
  22   the whole point, all right?       But, if someone like Wallace, the
  23   smooth talker, as you heard, because this car fraud --
  24   remember, I told you it's two sides of the same coin, this car
  25   fraud and drug-dealing scheme.        If somebody like Wallace, the

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1926 Filed 05/10/19 Page 95 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 95

   1   smooth talker, as we have heard, has the connection and starts
   2   interfering with that money, then, yes, drug dealing can equate
   3   to murder because what we had here, ladies and gentlemen, you
   4   can't just ask him to step aside, he was a smooth talker with
   5   connections.
   6         So what do you have to do and what was done?          You do a
   7   hostile takeover.      You murder him and get him out the way so
   8   that he can stop interfering with your money, and that's
   9   exactly what happened.
  10         What do we know about where that was hatched at?           The
  11   hostile takeover was hatched at Zeidman's.          Who told you that?
  12   Darnell Bailey.     Who else told you that?      Stephen Brown.
  13         What do we know about the Pantheon Nightclub?          It doesn't
  14   matter if it was day or night.        The phone records support
  15   Watson and Belcher being there.        Who told you about that?
  16   Darnell Bailey and Stephen Brown, call detail records.            So it
  17   doesn't matter whether it was day or night, the phone records
  18   put them there as going to hunt for Wallace.
  19         The Faircrest was brought up for you just so that you can
  20   understand the frame of reference of where they left from so
  21   that you have the vantage point of knowing where those cell
  22   towers are hitting showing them moving down to do the killing.
  23         And who told you they were at Faircrest just before the
  24   killing?    Stephen Brown, Billy Joe Chambers, and the call
  25   detail records.

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1927 Filed 05/10/19 Page 96 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 96

   1         And where were they headed to and where were they going
   2   to?   Well, Brown told you.      Well, you know from the security
   3   video they came down to They Say.        You know from Darnell Bailey
   4   that they were there at They Say to do the killing, and you
   5   know from Stephen Brown that he had gotten that final call from
   6   Belcher telling him that the big fish was on the line and to
   7   report to They Say.
   8         Who else told you?      Billy Joe Chambers, he was there and
   9   he told you.     The call detail records, they verify that.
  10         Who shot Wallace?     How do we know that?      Darnell Bailey
  11   tells you because he said that Belcher told him that it was
  12   indeed Watson.     Stephen Brown told you because he was in the
  13   car, and he told you how he fired and how Watson got out and
  14   fired.    Billy Joe Chambers told you because he was the driver
  15   and Brown was his front seat passenger.         So Billy Joe Chambers
  16   told you he jumped out of the backseat and did the firing.            The
  17   call detail records tell you all three of them were in the
  18   area, and the surveillance video tells you.
  19         What was this lie that was created?        What was the
  20   snitching cover story?      Because, again, it was to keep the
  21   information about everybody's involvement from getting back to
  22   federal law enforcement.       It was to hinder that information.
  23   As a matter of fact, that's why -- you know, they want to talk
  24   about the indictment being charged.         Remember, that's why it's
  25   charged that way.      The indictment that they admitted as an

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1928 Filed 05/10/19 Page 97 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 97

   1   exhibit was based on this theory that was implanted by Belcher
   2   all related to the fact that Wallace was a federal witness
   3   until the real deal came out in terms of the investigation and
   4   we knew that that was a cover story.
   5         But who all shared in this snitching cover story?
   6   Deaunta Belcher, Darnell Bailey, and Mr. Jackson, who told you
   7   that Darnell Bailey told him that in 2016.          This was before any
   8   plea deals.
   9         Do we know that money was involved, that this was a
  10   motive, money was a motive?       Uh, yeah.    What about the Parkside
  11   project situation?      Stephen Brown was incensed he wasn't
  12   getting his cut so he hunted him down with a chopper.
  13         Who else told you about Stephen Brown showing up in the
  14   Parkside projects?      Darnell Bailey.     And who else?
  15   Billy Joe Chambers, because, as Chambers told you, he was then
  16   driving his girl friend's Rendezvous.
  17         Did money change hands?      Yes.
  18         Who told you that?      Darnell Bailey and Stephen Brown.
  19         Because Darnell Bailey told you that he met Watson at the
  20   casino and handed him money, and Brown told you that he
  21   couldn't go because he was on a tether and he sent Watson and
  22   Watson came back and brought him the money.
  23         And, finally, what do we know this was all about?           Again,
  24   it was a hostile takeover, and the motive was greed.           Who told
  25   you that there was some discourse and descension underlying all

                        16-20143; U.S.A. v. Belcher/Watson
Case 2:16-cr-20143-DML-RSW ECF No. 231, PageID.1929 Filed 05/10/19 Page 98 of 98


                           Government's Rebuttal Closing
                          Monday/October 22, 2018/Vol. 13

                                                             Vol. 13/Page 98

   1   of that, this was all about money?        Darnell Bailey.
   2         Who told you that?      Stephen Brown, because he heard a
   3   phone conversation about dog messing with my money.
   4         So Stephen Brown, and who else told you that?
   5   Sean Jackson, because he was told that by Mr. Bailey as he was
   6   his bunkee.
   7         And who else told you that?        Latasia Banks because what
   8   did she say Deaunta Belcher confessed to her?          Wallace had to
   9   go.
  10         Ladies and gentlemen, thank you for your time and
  11   attention over these last three weeks.         As you can see, the
  12   Government has proven each and every element of these offenses
  13   charged beyond a reasonable doubt.        We ask you to return the
  14   only verdict which this evidence supports, and that's that
  15   these two defendants are guilty with the rest of the three for
  16   the counts charged as well as the murder for hire.
  17         Thank you for your time and attention.
  18         (End of excerpt.)
  19                                   -    -   -
  20                          C E R T I F I C A T I O N
  21         I certify that the foregoing is a correct transcription of
  22   the record of proceedings in the above-entitled matter.
  23
  24   s/ Sheri K. Ward                                 5/10/2019
       Sheri K. Ward                                    Date
  25   Official Court Reporter

                        16-20143; U.S.A. v. Belcher/Watson
